Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 1
                                    of 79




                               Exhibit 2
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 2
                                    of 79




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv- 2680


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO, CITY
   OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



          Defendants.



                                  Expert Report of Louis Klarevas




                                                1
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 3
                                    of 79




                            EXPERT REPORT OF LOUIS KLAREVAS

  I, Louis Klarevas, declare:
         1.       I have been asked by the Defendants to prepare an Expert Report addressing

  recent trends in mass shootings in the United States, the use of assault weapons and large-

  capacity magazines (LCMs) in mass shootings and the impact on fatalities and harm caused, and

  how restrictions on assault weapons and LCMs have affected mass shooting violence. This

  Report is based on my own personal knowledge and experience, and, if I am called as a witness,

  I could and would testify competently to the truth of the matters discussed in this Report

  (“Report” hereinafter).

                                PROFESSIONAL QUALIFICATIONS
         2.       I am a security policy analyst and, currently, Research Professor at Teachers

  College, Columbia University, in New York. I am also the author of the book Rampage Nation,

  one of the most comprehensive studies on gun massacres in the United States.1

         3.       I am a political scientist by training, with a B.A. from the University of

  Pennsylvania and a Ph.D. from American University. During the course of my nearly 25-year

  career as an academic, I have served on the faculties of George Washington University, the City

  University of New York, New York University, and the University of Massachusetts. I have also

  served as Defense Analysis Research Fellow at the London School of Economics and Political

  Science and as United States Senior Fulbright Scholar in Security Studies at the University of

  Macedonia.

         4.       My current research examines the nexus between American public safety and gun

  violence, including serving as an investigator in a study funded by the National Institutes of

  Health that focuses on reducing intentional shootings at elementary and secondary schools.

         5.       In addition to having made over 100 media and public-speaking appearances, I

  am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces. In


         1
             Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
                                                    2
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 4
                                    of 79




  2019, my peer-reviewed article on the effectiveness of restrictions on LCMs in reducing high-

  fatality mass shootings that result in six or more victims killed was published in the American

  Journal of Public Health.2 This study found that jurisdictions with LCM bans experienced

  substantially lower gun massacre incidence and fatality rates when compared to jurisdictions not

  subject to similar bans. Despite being over 3 years old now, this study continues to be one of the

  highest impact studies in academia. It was recently referred to as “the perfect gun policy study,”

  in part due to the study’s “robustness and quality.”3

         6.      Since January 1, 2019, I have been deposed, testified in court, or testified by

  declaration in the following cases (all in federal court), listed alphabetically by state:

   California – Central District
   Rupp v. Bonta                                                              8:17-cv-00746-JLS-JDE
   California – Eastern District
   Wiese v. Bonta                                                           2:17-cv-00903-WBS-KJN
   California – Southern District
   Duncan v. Bonta                                                              17-cv-1017-BEN-JLB
   Jones v. Bonta                                                                19-cv-01226-L-AHG
   Miller v. Bonta                                                            3:19-cv-1537-BEN-JBS
   Nguyen v. Bonta                                                        3:20-cv-02470-WQH-MDD
   Colorado
   Gates v. Polis                                                          1:22-cv-01866-NYW-SKC
   Connecticut
   National Association for Gun Rights v. Lamont                                   3:22-cv-01118-JBA
   Hawaii
   National Association for Gun Rights v. Lopez                                1:22-cv-404-DKW-RT

         2
            Louis Klarevas, et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality
  Mass Shootings,” 109 American Journal of Public Health 1754 (2019), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed February
  11, 2023).
         3
            Lori Ann Post and Maryann Mason, “The Perfect Gun Policy Study in a Not So Perfect
  Storm,” 112 American Journal of Public Health 1707 (2022), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed February
  11, 2023). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
  and research design that was more rigorous than designs used in observational studies. Also,
  they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
  their findings, for example examining both state bans and federal bans. They helped build the
  foundation for future studies while overcoming the limitations of previous research.” Ibid.
                                                     3
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 5
                                    of 79




   Illinois – Northern District
   Viramontes v. Cook County                                                         1:21-cv-04595
   National Association for Gun Rights v. Highland Park                                22-cv-04774
   Herrera v. Raoul                                                                  1:23-cv-00532
   Illinois – Southern District
   Harrel v. Raoul*                                                                 23-cv-141-SPM
   Langley v. Kelly*                                                                23-cv-192-SPM
   Barnett v. Raoul*                                                                23-cv-209-SPM
   Federal Firearms Licensees of Illinois v. Pritzker*                              23-cv-215-SPM
   Kenneally v. Raoul                                                                3:23-cv-50039
   Massachusetts
   National Association for Gun Rights v. Campbell                              1:22-cv-11431-FDS
   Oregon
   Oregon Firearms Federation v. Kotek†                                           2:22-cv-01815-IM
   Fitz v. Rosenblum†                                                             3:22-cv-01859-IM
   Eyre v. Rosenblum†                                                             3:22-cv-01862-IM
   Azzopardi v. Rosenblum†                                                        3:22-cv-01869-IM
   Washington – Eastern District
   Brumback v. Ferguson                                                        1:22-cv-03093-MKD
           *
              Non-Consolidated Cases on the Same Briefing Schedule / †Consolidated Cases
         7.       In 2021, I was retained by the Government of Canada in the following cases

  which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

  K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

  569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

  Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

  File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

  No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

  Federal Court of Canada.

         8.       I have also submitted declarations in the following state court cases: People of

  Colorado v. Sgaggio, District Court, El Paso County, Colorado, 2022M005894 (Criminal); and

  Guardian Arms v. Inslee, Superior Court, Grant County, Washington, 23-2-00377-13 (Civil).


                                                   4
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 6
                                    of 79




         9.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

  this Report.

         10.     I am being compensated at a rate of $480/hour for my work on this Report,

  $600/hour for any testimony in connection with this matter, and $120/hour for travel required to

  provide testimony.

                                               OPINIONS
         11.     It is my professional opinion, based upon my extensive review and analysis of the

  data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

  presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

  problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

  and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

  that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

  fatalities are relatively modern phenomena in American history, largely related to the use of

  assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

  frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to

  rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

  the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

  high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict

  assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

  weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

  gun massacres.4



         4
            For purposes of this Report, mass shootings are defined in a manner consistent with my
  book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
  shootings resulting in four or more victims being shot (fatally or non-fatally), regardless of
  location or underlying motive. As a subset of mass shootings, “high-fatality mass shootings”
  (also referred to as “gun massacres”) are defined as shootings resulting in 6 or more victims
  being shot to death, regardless of location or underlying motive. The data on high-fatality mass
  shootings is from a data set that I maintain and continuously update. This data set is reproduced
                                                    5
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 7
                                    of 79




  I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

           12.      Examining mass-casualty acts of violence in the United States since 1991 points

  to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

  intentional criminal violence in the United States since the terrorist attack of September 11,

  2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

  fatality mass shooting violence is on the rise. To put the increase over the last three decades into

  perspective, between the 1990s and the 2010s, the average population of the United States

  increased approximately 20%. However, when the number of people killed in high-fatality mass

  shootings in the 1990s is compared to the number killed in such incidents in the 2010s, it reflects

  an increase of 260%. In other words, the rise in gun massacre violence has far outpaced the rise

  in national population—by a factor of 13. The obvious takeaway from these patterns and trends

  is that mass shootings pose a significant—and growing—threat to American public safety.


  Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

           Deaths             Date                       Location                Type of Violence
       1     60          October 1, 2017              Las Vegas, NV               Mass Shooting
       2     49           June 12, 2016                Orlando, FL                Mass Shooting
       3     32           April 16, 2007             Blacksburg, VA               Mass Shooting
       4     27         December 14, 2012             Newtown, CT                 Mass Shooting
       5     25         November 5, 2017          Sutherland Springs, TX          Mass Shooting
       6     23          August 3, 2019                El Paso, TX                Mass Shooting
       7     21           May 24, 2022                 Uvalde, TX                 Mass Shooting




  in Exhibit C. Unless stated otherwise, all of the data used to perform original analyses and to
  construct tables and figures in Sections I, II, and VI of this Report are drawn from Exhibit C.
           5
            Because the analysis in Section VI of this Report necessarily uses data from 1991
  through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
  I and II also use data from 1991 through 2022.
                                                    6
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 8
                                    of 79




  Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

                 7

                 6

                 5

                 4

                 3

                 2

                 1

                 0




  Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
  overall pattern of the individual data points. When there is a positive relationship between the x-
  axis and y-axis variables, the trendline moves upwards from left to right. When there is a
  negative relationship between the x-axis and y-axis variables, the trendline moves downwards
  from left to right.


  Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

                     100


                      80


                      60


                      40


                      20


                       0




  Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
  overall pattern of the individual data points. When there is a positive relationship between the x-
  axis and y-axis variables, the trendline moves upwards from left to right. When there is a
  negative relationship between the x-axis and y-axis variables, the trendline moves downwards
  from left to right.

                                                   7
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 9
                                    of 79




  II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
         MASS SHOOTING VIOLENCE

         13.     In addition to showing that the frequency and lethality of high-fatality mass

  shootings are on the rise nationally, the data point to another striking pattern: both assault

  weapons and LCMs are being used with increased frequency to perpetrate gun massacres.6 As

  shown in Figures 3-4, based on high-fatality mass shootings where details allow a determination

  on the use of assault weapons and LCMs are available, over half of all incidents in the last four

  years involved assault weapons and all incidents in the last four years involved LCMs having a

  capacity greater than 10 bullets. As shown in Figures 5-6, a similar pattern emerges when

  examining deaths in high-fatality mass shootings in the last four years, with 62% of deaths

  resulting from incidents involving assault weapons and 100% of deaths resulting from incidents

  involving LCMs having a capacity greater than 10 bullets. These trends demonstrate that, among

  perpetrators of gun massacres, there is a growing preference for using assault weapons and

  LCMs to carry out their attacks.7

         6
            Assault weapons are generally semiautomatic firearms that fall into one of the following
  three categories: assault pistols, assault rifles, and assault shotguns. For purposes of this Report,
  unless otherwise stated, assault weapons are defined and coded in a manner consistent with
  Exhibit C. Per the 1994 federal ban definition, LCMs are generally ammunition-feeding devices
  with a capacity greater than 10 bullets. The ammunition threshold of the 1994 federal definition
  (greater than 10 bullets) is identical to that of the definition of LCMs in the ordinances of all four
  jurisdictions that are parties in the present case. For purposes of this Report, unless otherwise
  stated, LCMs will be defined in a manner consistent with the 1994 federal ban on LCMs, which
  defined them as ammunition-feeding devices with a capacity greater than 10 bullets. While the
  term “assault weapons” as referenced in the present case is defined by law, the modern-day roots
  of the term can be traced back to the 1980s, when gun manufacturers branded military-style
  firearms with the label in an effort to make them more marketable to civilians. See, Violence
  Policy Center, Assault Weapons and Accessories in America (1988) (Attached as Exhibit D);
  Violence Policy Center, Bullet Hoses: Semiautomatic Assault Weapons—What Are They?
  What’s So Bad about Them? (2003) (Attached as Exhibit E); Phillip Peterson, Gun Digest
  Buyer’s Guide to Assault Weapons (2008) (Relevant Excerpt Attached as Exhibit F); and Erica
  Goode, “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times, January 16, 2013,
  available at https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
  complicated.html (last accessed January 24, 2023).
         7
           Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
  it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for two
                                                   8
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 10
                                    of 79




   Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
   1991-2022



         Last 4 Years                                     53%



         Last 8 Years                                    50%



        Last 16 Years                          38%



        Last 32 Years                       34%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


   Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds), 1991-2022



         Last 4 Years                                                                   100%



         Last 8 Years                                                                 97%



        Last 16 Years                                                          85%



        Last 32 Years                                                    77%


                        0%      20%          40%           60%         80%           100%


   Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.


   of these 14 incidents, it is also not possible to determine whether they involved assault weapons.
   Therefore, the tables, figures, and percentages discussed in this section of the Report are based
   on calculations that only use data points from the incidents in which the involvement of assault
   weapons and/or LCMs could be determined.
                                                     9
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 11
                                    of 79




   Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   Assault Weapons, 1991-2022



         Last 4 Years                                           62%




         Last 8 Years                                                 68%




        Last 16 Years                                    53%




        Last 32 Years                              46%


                        0%     20%          40%           60%               80%           100%


   Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


   Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   LCMs (Ammunition Capacity Greater Than 10 Rounds), 1991-2022



         Last 4 Years                                                                          100%




         Last 8 Years                                                                         97%




        Last 16 Years                                                                   90%




        Last 32 Years                                                             84%


                        0%     20%          40%           60%               80%           100%


   Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.



                                                  10
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 12
                                    of 79




          14.      The growing use of assault weapons to carry out high-fatality mass shootings is

   an obvious theme reflected in the data. The disproportionate resort to assault weapons by

   perpetrators of high-fatality mass shootings is another clear theme. Based on National Sport

   Shooting Foundation (NSSF) and federal government data, “modern sporting rifles”—which is a

   firearm industry term for AR-15-platform and AK-47-platform firearms—make up

   approximately 5.3% of all firearms in circulation in American society, according to the most

   recent publicly available data (24.4 million out of an estimated 461.9 million firearms).8 And, in

   all likelihood, this is an over-estimation because the figures appear to include firearms belonging

   to law enforcement agencies in the United States.9 But even using this estimate, if assault

   weapons were used in proportion to the percentage of modern sporting rifles in circulation,

   approximately 5% of all high-fatality mass shootings would involve assault weapons. However,

   as seen in Figure 3 above, civilian ownership rates and mass-shooter use rates are not similar.

   Indeed, the current difference is approximately ten-fold, with the rate at which assault weapons

          8
             The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
   Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
   there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
   as of the end of 2020 (when the most recent data are available). NSSF, “Commonly Owned:
   NSSF Announces over 24 Million MSRs in Circulation,” July 20, 2022, available at
   https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-
   circulation (last accessed January 3, 2023). In a 2020 report that captured data through the end
   of 2018, the NSSF estimated that there were 433.9 million total firearms in civilian circulation in
   the United States. NSSF, Firearm Production in the United States with Firearm Import and
   Export Data, Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
   content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed January 3, 2023).
   According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
   civilian stock nationwide. ATF, National Firearms Commerce and Trafficking Assessment:
   Firearms in Commerce (2022), at 181, 188, 193, available at
   https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-
   assessment-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming
   these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
   firearms in civilian circulation through the end of 2020 to approximately 461.9 million. The
   ownership rate is calculated as follows: 24.4 million modern sporting rifles divided by 461.9
   million total firearms equals approximately 5.3%.
          9
              ATF, 2022, supra note 8, at 12; NSSF, 2020, supra note 8, at 2-3.
                                                    11
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 13
                                    of 79




   are now used to commit gun massacres far outpacing the rate at which modern sporting rifles

   circulate amongst civilians in the United States.10

           15.    Another pattern that stands out when examining the relationship between assault

   weapons use and gun massacre violence reflects the disproportionately greater lethality

   associated with the use of assault weapons and LCMs. For instance, returning to the

   aforementioned list of the seven deadliest individual acts of intentional criminal violence in the

   United States since the coordinated terrorist attack of September 11, 2001, besides all seven of

   the incidents being mass shootings, six of the seven incidents (86%) involved assault weapons

   and LCMs, as shown in Table 2. When examining all high-fatality mass shootings since 1991,

   the relationship between assault weapons use, LCM use, and higher death tolls is striking. In the

   past 32 years, assault weapons and LCMs with an ammunition capacity greater than 10 rounds

   have been used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as

   the fatality thresholds of such incidents increase, so too do the shares of incidents involving

   assault weapons and LCMs. For instance, assault weapons and LCMs were used, respectively, in

   75% and 100% of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data

   show, there is an association between mass shooting lethality and the use of assault weapons and

   LCMs.




           10
            Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
   no way to perform a similar comparison using LCMs instead of modern sporting rifles.
                                                    12
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 14
                                    of 79




   Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
   Criminal Violence in the U.S. since 9/11

                                                             Involved               Involved
                                                              Assault                LCMs
    Deaths        Date                    Location           Weapons            ( > 10 Rounds )
      60       10/1/2017               Las Vegas, NV         9 (AR-15)                 9
      49        612/2016                Orlando, FL          9 (AR-15)                 9
      32       4/16/2007              Blacksburg, VA                                   9
      27       12/14/2012              Newtown, CT           9 (AR-15)                 9
      25       11/5/2017           Sutherland Springs, TX    9 (AR-15)                 9
      23        8/3/2019                El Paso, TX          9 (AK-47)                 9
      21       5/24/2022                Uvalde, TX           9 (AR-15)                 9


   Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
   Fatality Threshold, 1991-2022



        More Than 40 Deaths                                                          100%



        More Than 20 Deaths                                             75%



        More Than 10 Deaths                                       61%



         More Than 5 Deaths                       34%


                              0%       20%        40%       60%         80%       100%


   Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.




                                                    13
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 15
                                    of 79




   Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds) by Fatality Threshold, 1991-2022



        More Than 40 Deaths                                                                 100%



        More Than 20 Deaths                                                                 100%



        More Than 10 Deaths                                                             94%



         More Than 5 Deaths                                                  77%


                              0%       20%         40%          60%         80%         100%


   Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.

          16.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

   firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

   toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

   the 60 incidents in which it is known assault weapons were not used (which resulted in 490
   fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

   shootings since January 1, 1991, in which LCM use was determined, 61 involved LCMs with an

   ammunition capacity greater than 10 rounds, resulting in 704 deaths. The average death toll for

   these 61 incidents is 11.5 fatalities per shooting. The average death toll for the 18 incidents in

   which it is known LCMs were not used (which resulted in 132 fatalities) is 7.3 fatalities per

   shooting (Table 4). In other words, in the last 32 years, the use of assault weapons and LCMs in

   gun massacres has resulted, correspondingly, in 67% and 58% increases in average fatalities per

   incident (Tables 3-4).

          17.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

   are attributable to assault weapons beyond deaths associated with the use of LCMs. When


                                                     14
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 16
                                    of 79




   LCMs with an ammunition capacity greater than 10 rounds are not used, the average death toll is

   7.3 fatalities. When LCMs are used, but not in conjunction with assault weapons, the average

   death toll is 9.2 fatalities. When LCMs are used with assault weapons, the average death toll is

   14.0 fatalities. The data show that using LCMs without an assault weapon resulted in a 26%

   increase in the average death toll. However, using LCMs with an assault weapon resulted in a

   52% increase in the average death toll associated with incidents that involved LCMs without

   assault weapons and a 92% increase in the average death toll associated with incidents that

   involved neither LCMs nor assault weapons.

          17.     This review of the data suggests that assault weapons and LCMs are force

   multipliers when used in mass shootings.


   Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
   Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for
                         Incidents That Did Not       Incidents That Did        Percent Increase in Average
                         Involve the Use of Assault   Involve the Use of        Death Toll Associated with
                         Weapons                      Assault Weapons           the Use of Assault Weapons
    1991-2022                    8.2 Deaths                  13.7 Deaths                    67%

   Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



   Table 4. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) in High-Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for    Percent Increase in Average
                         Incidents That Did Not       Incidents That Did        Death Toll Associated with
                         Involve the Use of LCMs      Involve the Use of LCMs   the Use of LCMs
    1991-2022                    7.3 Deaths                  11.5 Deaths                    58%

   Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.




                                                      15
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 17
                                    of 79




   Table 5. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) and Assault Weapons in High-Fatality Mass Shootings
   in the U.S., 1991-2022


    Average                                                                  Average
    Death Toll   Average                 Average      Average                Death       Average
    for          Death Toll              Death Toll   Death                  Toll for    Death
    Incidents    for                     for          Toll for               Incidents   Toll for
    Not          Incidents               Incidents    Incidents              Not         Incidents
    Involving    Involving               Involving    Involving              Involving   Involving
    LCMs or      LCMs but     Percent    LCMs but     LCMs        Percent    LCMs or     LCMs        Percent
    AWs          Not AWs      Increase   Not AWs      and AWs     Increase   AWs         and AWs     Increase
        7.3          9.2        26%          9.2         14.0       52%         7.3         14.0       92%


   Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons
   and/or LCMs were used.


   III.    DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
           PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
           ASSAULT WEAPONS


           18.     I have also examined the historical occurrence and distribution of mass shootings

   resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9).11 In terms of the origins

   of this form of extreme gun violence, there is no known occurrence of a mass shooting resulting

   in double-digit fatalities during the 173-year period between the nation’s founding in 1776 and

   1948. The first known mass shooting resulting in 10 or more deaths occurred in 1949. In other

   words, for 70% of its 247-year existence as a nation, the United States did not experience a




           11
             I searched for firearm-related “murders,” using variations of the term, setting a
   minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
   available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
   Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
   large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
   attacks initiated by authorities acting in their official capacity were excluded.
                                                      16
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 18
                                    of 79




   single mass shooting resulting in double-digit fatalities. They are relatively modern phenomena

   in American history.12

          19.       After the first such incident in 1949, 17 years passed until a similar mass shooting

   occurred in 1966. The third such mass shooting then occurred nine years later, in 1975. And the

   fourth such incident occurred seven years after, in 1982. Basically, the first few mass shootings

   resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

   first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

   gap between these first four incidents shrank with each event (Table 6 and Figure 10).13




          12
            Using the Constitution’s effective date of 1789 as the starting point would lead to the
   conclusion that, for 68% of its 234-year existence as a nation, the United States did not
   experience a mass shooting resulting in double-digit fatalities.
          13
               Figures 9-10 are reproduced in larger form as Exhibit G of this Report.
                                                     17
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 19
                                    of 79




   Table 6. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022

                                                                   Involved
                                                                    Assault         Involved
             Date                 Location              Deaths     Weapon(s)        LCM(s)
     1       9/6/1949           Camden, NE                13          N                N
     2       8/1/1966            Austin, TX               14          N                Y
     3      3/30/1975          Hamilton, OH               11          N                N
     4      9/25/1982        Wilkes-Barre, PA             13          Y                Y
     5      2/18/1983           Seattle, WA               13          N                N
     6      4/15/1984          Brooklyn, NY               10          N                N
     7      7/18/1984         San Ysidro, CA              21          Y                Y
     8      8/20/1986           Edmond, OK                14          N                N
     9     10/16/1991           Killeen, TX               23          N                Y
    10      4/20/1999           Littleton, CO             13          Y                Y
    11      4/16/2007         Blacksburg, VA              32          N                Y
    12      3/10/2009       Geneva County, AL             10          Y                Y
    13       4/3/2009         Binghamton, NY              13          N                Y
    14      11/5/2009          Fort Hood, TX              13          N                Y
    15      7/20/2012            Aurora, CO               12          Y                Y
    16     12/14/2012          Newtown, CT                27          Y                Y
    17      9/16/2013         Washington, DC              12          N                N
    18      12/2/2015       San Bernardino, CA            14          Y                Y
    19      6/12/2016           Orlando, FL               49          Y                Y
    20      10/1/2017          Las Vegas, NV              60          Y                Y
    21      11/5/2017      Sutherland Springs, TX         25          Y                Y
    22      2/14/2018           Parkland, FL              17          Y                Y
    23      5/18/2018           Santa Fe, TX              10          N                N
    24     10/27/2018          Pittsburgh, PA             11          Y                Y
    25      11/7/2018       Thousand Oaks, CA             12          N                Y
    26      5/31/2019       Virginia Beach, VA            12          N                Y
    27       8/3/2019           El Paso, TX               23          Y                Y
    28      3/22/2021           Boulder, CO               10          Y                Y
    29      5/14/2022           Buffalo, NY               10          Y                Y
    30      5/24/2022            Uvalde, TX               21          Y                Y

   Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
   weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
   1994 Federal Assault Weapons Ban or (2) the statutes of the state where the gun massacre
   occurred. An incident was coded as involving an LCM if at least one of the firearms discharged
   had an ammunition-feeding device holding more than 10 bullets.




                                                 18
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 20
                                    of 79




   Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022




   Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022




          20.     The distribution of double-digit-fatality mass shootings changes in the early

   1980s, when five such events took place in a span of just five years (Table 6 and Figure 10).
   This timeframe also reflects the first time that assault weapons were used to perpetrate mass

                                                  19
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 21
                                    of 79




   shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

   AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

   pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

   in which only two double-digit-fatality mass shootings occurred (Figure 10). This period of time

   from 1987-2007 correlates with three important federal firearms measures: the 1986 Firearm

   Owners Protection Act, the 1989 C.F.R. “sporting use” importation restrictions, and the 1994

   Federal Assault Weapons Ban.

          21.     It is well-documented in the academic literature that, after the Federal Assault

   Weapons Ban expired in 2004, mass shooting violence increased substantially.14 Mass shootings

   that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

   from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

   fatalities (a frequency rate of one incident every 5.6 years). In the 18 years since 2004, there

   have been 20 double-digit-fatality mass shootings (a frequency rate of one incident every 0.9

   years). In other words, the frequency rate has increased over six-fold since the Federal Assault

   Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

   impact on mass shooting violence is discussed in further detail in Section VI of this Report.)

          22.     Over three-quarters of the mass shootings resulting in 10 or more deaths involved

   assault weapons and/or LCMs (Table 6). As also shown in the analyses of mass shootings in

   Section II, death tolls in double-digit-fatality mass shootings are related to the use of firearm




          14
            See, for example, Louis Klarevas, supra note 1 (Relevant Excerpt Attached as Exhibit
   H); Louis Klarevas, et al., supra note 2 (Attached as Exhibit I); Charles DiMaggio, et al.,
   “Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
   Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery 11 (2019)
   (Attached as Exhibit J); Lori Post, et al., “Impact of Firearm Surveillance on Gun Control
   Policy: Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance (2021)
   (Attached as Exhibit K); and Philip J. Cook and John J. Donohue, “Regulating Assault Weapons
   and Large-Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022 (Attached as
   Exhibit L).
                                                    20
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 22
                                    of 79




   technologies like assault weapons and LCMs that, in terms of mass shootings, serve as force

   multipliers.


   IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN SELF-
          DEFENSE DURING ACTIVE SHOOTINGS

          23.     An important question that, until now, has gone unanswered is: Are assault

   weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

   above in Section II, assault weapons have been used to perpetrate approximately one-third of

   high-fatality mass shootings in the past 32 years (Figure 3). And in the past eight years, the

   share of high-fatality mass shootings that have been perpetrated with assault weapons has risen

   to approximately half (Figure 3).

          24.     The Federal Bureau of Investigation (FBI) has been documenting active shooter

   incidents since 2000.15 According to the FBI, active shootings are violent attacks that involve

   “one or more individuals actively engaged in killing or attempting to kill people in a populated

   area.”16 A simple way to conceptualize active shooter incidents is to think of them as attempted

   mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

   that involved armed civilians using their personal firearms to intervene, regardless of whether the

   interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).


          15
             All of the information in this section, including definitions and data, are publicly
   available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
   https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
   accessed January 2, 2023).
          16
              FBI, Active Shooter Incidents in the United States in 2022, April 2023, at 1, available
   at https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-2022-042623.pdf/view
   (last accessed May 4, 2023). The FBI adds, “Implicit in this definition is the shooter’s use of one
   or more firearms. The active aspect of the definition inherently implies the ongoing nature of the
   incidents, and thus the potential for the response to affect the outcome.” Ibid. (emphasis in
   original). In addition to the report on incidents in 2022, the FBI has published seven other
   reports on active shooter incidents covering the following seven time periods: 2000-2013, 2014-
   2015, 2016-2017, 2018, 2019, 2020, and 2021. All of these reports are available at the FBI’s
   “Active Shooter Safety Resources” website, supra note 15.
                                                   21
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 23
                                    of 79




          25.     In the 23 years between January 1, 2000 and December 31, 2022, the FBI has

   identified 456 active shootings occurring in the United States. Out of these 456 active shooter

   incidents, 18 incidents (3.9%) involved defensive gun uses (DGUs) by civilians, excluding law

   enforcement or armed security.17 Of these 18 DGUs, the firearm used by an armed private

   citizen intervening was identifiable in 17 incidents; 14 involved handguns and the remaining

   three involved long guns (one shotgun, one bolt-action rifle, and one assault rifle).18 In other

   words, out of the 17 incidents where an armed civilian intervened and it was possible to identify

   the DGU firearm, only one incident (5.9%) involved an assault weapon.19 Within the broader

   context of all active shooter incidents, only one incident out of 456 in the past 23 years (0.2%) is

   known to have involved an armed civilian intervening with an assault weapon.20

          17
             In 17 of the 18 DGU-involved active shooter incidents, there was an exchange of
   gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
   was used to detain the active shooter after the shooting had ceased. FBI, supra notes 15 and 16.
          18
             All 14 DGU incidents that involved handguns also involved armed civilians who held
   valid concealed-carry permits or were legally carrying their handguns. Ibid. In 12 of these 14
   incidents, details about the types of handguns used in self-defense were available in news media
   accounts or in news media photographs of the crime scene. In two of the 14 incidents, the use of
   concealed handguns was inferred based on details about the shooting reported in news media
   accounts. There is no evidence that either of these two DGU incidents involved an assault pistol.
          19
             The FBI also identifies an incident in which an armed individual (a local firefighter)
   subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
   his handgun during the incident. Ibid. Moreover, local authorities have refused to comment on
   whether the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
   Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
   https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
   sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 17 DGU-
   involved incidents would mean that 5.6% (as opposed to 5.9%) of the active shooter incidents,
   where an armed civilian intervened, involved an assault weapon.
          20
             FBI, supra notes 15 and 16. The one DGU that involved an assault weapon was the
   2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
   used an AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene.
   While the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed
   his vehicle trying to escape and then took his life with his own firearm before law enforcement
   could apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
   KHBS/KHOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
   texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
                                                    22
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 24
                                    of 79




          26.     The bottom line is that assault weapons are used by civilians with a far greater

   frequency to perpetrate mass shootings than to stop mass shootings.21


   V.     OWNERSHIP RATES OF “MODERN SPORTING RIFLES” IN THE U.S.

          27.     As noted above in Para. 13, based on the most recent publicly available NSSF and

   federal government data, modern sporting rifles—such as AR- and AK-platform firearms—

   appear to make up as many as 5.3% of all firearms in circulation in American society (24.4

   million out of an estimated 461.9 million firearms, although this is likely an overestimate due to

   the apparent inclusion of modern sporting rifles possessed by law enforcement agencies).

   Furthermore, in its most recent survey data (2022), the NSSF found that civilian owners of

   modern sporting rifles own, on average, 3.8 such rifles, with 24% of these owners possessing

   only one such rifle.22 Based on this data, only 6.4 million gun owners—out of an estimated 81

   million Americans who own at least one personal firearm—own modern sporting rifles.23 In

   other words, less than 8% of all civilian gun owners in the United States own modern sporting



          21
             Given the limitations of the active shooter incident data reported by the FBI, it is not
   possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
   with an LCM at the time of the intervention. As such, it is not possible to perform a similar
   comparison between mass shootings perpetrated with LCM-equipped firearms and mass
   shootings thwarted with LCM-equipped firearms.
          22
             NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
   Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
   https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
   accessed January 16, 2023).
          23
               The estimate that approximately 6.4 million gun owners possess what the NSSF
   considers to be modern sporting rifles is calculated by dividing the 3.8 average number of such
   rifles that each modern sporting rifle owner possesses into the 24.4 million such rifles estimated
   to be in civilian circulation. This calculation (24.4 million divided by 3.8) equals 6.4 million.
   Based on survey data, 81 million American adults are estimated to own guns. Andy Nguyen,
   “Proposed Assault Weapons Ban Won’t Turn Gun Owners into Felons Overnight,” PolitiFact,
   The Poynter Institute, August 3, 2022, available at
   https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
   ban-wont-turn-gun-owners- (last accessed January 16, 2023).
                                                   23
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 25
                                    of 79




   rifles.24 In terms of the total population of the United States, estimated by the Census Bureau to

   be approximately 333 million people in 2022, less than 2% of all Americans own a modern

   sporting rifle.25

           28.      In deriving its estimates, the NSSF often relies on United States government data,

   particularly ATF data.26 According to the ATF, from 1986 through 2020 (which reflects the

   most currently available data), the civilian stock of firearms in the United States has been made

   up predominantly of handguns.27 As Figure 11 shows, handguns account for 50% of the civilian

   stock of firearms, rifles account for 33%, and shotguns account for 17%.

           29.      According to ATF data, handguns are the most commonly owned firearms; not

   rifles, and most certainly not modern sporting rifles that qualify as assault weapons.28




           24
              The finding that less than 8% of all gun owners possess modern sporting rifles is
   calculated by dividing the 6.4 million modern sporting rifle owners by the 81 million American
   adults estimated to be gun owners. Taking 6.4 million and dividing it by 81 million equals 7.9%.
           25
             The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
   Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
   19 Pandemic,” December 22, 2022, available at https://www.census.gov/newsroom/press-
   releases/2022/2022-population-
   estimates.html#:~:text=DEC.,components%20of%20change%20released%20today (last
   accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
   sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners by the 333
   million persons in the United States. Taking 6.4 million and dividing it by 333 million equals
   1.9%.
           26
                NSSF, 2020, supra note 8.
           27
             For data on the number of firearms manufactured, imported, and exported, by category
   of firearm, from 2000-2020, see ATF, supra note 8. For similar data covering 1986-1999, see
   ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
   https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
   accessed January 16, 2023).
           28
            Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
   no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
   rifles.
                                                    24
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 26
                                    of 79




   Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020
                                      Shotguns
                                        17%




                                                                              Handguns
                                                                                50%

                             Rifles
                             33%




   VI.      RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
            MASSACRES, RESULTING IN LIVES SAVED

         VI.A.           THE OPERATIVE MECHANISM OF ASSAULT WEAPONS BANS: SUPPRESSION AND
                         SUBSTITUTION EFFECTS

            30.          As conceptualized in the Trinity of Violence model that I developed in my book

   on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a

   target (Figure 12).29 The key to mitigating violence is to “break the trinity” by hindering at least

   one of the three elements. This is accomplished by dissuading the potential offender(s), denying

   the potential instrument(s) of violence, or defending the potential victim(s).30

   Figure 12. The Trinity of Violence




            29
                 Klarevas, supra note 1, at 27-29, 229-238.
            30
                 Ibid.
                                                        25
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 27
                                    of 79




          31.     Bans are law-based concepts that prohibit certain behaviors by criminalizing

   them.31 Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

   transfer, own, or possess certain firearms and certain magazines. Bans work in relation to two of

   the three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,

   bans use the threat of criminal penalty to deter potential offenders from engaging in the

   prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

   imprisonment, and/or fines should an individual build or otherwise acquire a prohibited assault

   weapon or LCM. The primary mechanism at work here centers around dissuading potential

   shooters from trying to acquire banned firearm technologies. But there is also a secondary

   mechanism at work, focused on the assault weapon or LCM itself: deprive potential instruments

   of violence. Knowing that someone who is willing to commit murder might not be deterred from

   violating another criminal law, like possessing a prohibited item, bans on assault weapons and

   LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

   a restricted item to someone who is prohibited from acquiring it. This, in essence, reinforces the

   strategy of dissuading the offender with the strategy of denying the instruments of violence.

          32.     Ideally, someone intent on committing a mass shooting with an assault weapon

   and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

   are not available. In such a scenario, the attack would be quashed. This suppression effect is

   akin to what economists and psychologists refer to as a positive spillover effect, where one

   desirable outcome produces a second, loosely related desirable outcome.32 A real-world example

          31
            Philip J. Cook, “Research in Criminal Deterrence: Laying the Groundwork for the
   Second Decade,” 2 Crime and Justice 211 (1980) (Attached as Exhibit M); and Daniel S. Nagin,
   “Deterrence in the Twenty-First Century,” 42 Crime and Justice 199 (2013) (Attached as
   Exhibit N).
          32
             Paul Dolan and Mateo M. Galizzi, “Like Ripples on a Pond: Behavioral Spillovers and
   Their Implications for Research and Policy,” 47 Journal of Economic Psychology 1 (2015)
   (Attached as Exhibit O); K. Jane Muir and Jessica Keim-Malpass, “Analyzing the Concept of
   Spillover Effects for Expanded Inclusion in Health Economics Research,” 9 Journal of
   Comparative Effectiveness Research 755 (2020) (Attached as Exhibit P).
                                                   26
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 28
                                    of 79




   of this is the so-called “Matrix Killings,” where a 19-year-old Virginia man blamed The Matrix

   film for driving him to murder his parents with a shotgun (that did not have an LCM). At the

   time of the crime in 2003, the Federal Assault Weapons Ban was in effect, preventing him from

   obtaining an assault rifle and LCMs. In a 2013 jailhouse interview, he told CNN, “If I had an

   assault weapon, things would have been much worse.” He added that had he had an AR-15

   instead of a shotgun, he is positive that, after killing his parents, he would have gone on a

   rampage and “killed as many people as I possibly could.” As he noted, “because I didn’t have an

   assault weapon, that didn’t happen.”33 In this case, the unavailability of an assault weapon due

   to the federal ban appears to have suppressed the perpetrator’s impulse to commit a mass

   shooting.

           33.     Of course, some potential mass shooters will not be discouraged from going on a

   killing spree just because their means of choice are unavailable. They will instead replace their

   desired instruments of violence with available alternatives. This is commonly referred to as the

   substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal

   instrument of violence.34 A real-world example of the substitution effect at work is the 2019
   synagogue rampage in Poway, California. In that attack, the gunman appears to have been

   unable to acquire an assault rifle and LCMs due to California’s ban on both. Instead, he acquired

   what is known as a California-compliant semiautomatic rifle (which lacked features such as a

   pistol grip and a forward hand grip) and 10-round magazines. As a result, the gunman quickly

   ran out of bullets, and while pausing to reload—which appears to have been extremely difficult

   given that he did not have assault weapon features on his rifle that facilitated fast reloading—a


           33
              “Inside the Mind of a Killer,” CNN (Transcripts), August 23, 2013, available at
   https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/01 (last accessed January 24,
   2023).
           34
            Philip J. Cook, “The Effect of Gun Availability on Violent Crime Patterns,” 455
   Annals of the American Academy of Political and Social Science 63 (1981) (Attached as Exhibit
   Q); Anthony A. Braga, et al., “Firearm Instrumentality: Do Guns Make Violent Situations More
   Lethal?” 4 Annual Review of Criminology 147 (2021) (Attached as Exhibit R).
                                                      27
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 29
                                    of 79




   congregant chased him away, preventing him from continuing his attack.35 In this incident,

   which resulted in one death, California’s ban on assault weapons and LCMs worked exactly as

   intended. It deprived the active shooter of the mechanisms that might have allowed him to kill

   enough people to surpass the fatality threshold of a mass shooting. Stated differently, if you

   examine data sets that identify shootings resulting in mass murder, you will not find the Poway

   synagogue attack on their lists.

          34.     It might seem perverse to think that restrictions on certain instruments of violence

   operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

   alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

   work in theory. They suppress the inclinations of potential mass shooters to go on killing

   rampages in the first place because their means of choice are unavailable. And, should

   deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

   prohibited ones, reducing the casualty tolls of attacks when they do occur.

      VI.B.       THE OPERATIVE MECHANISM OF LCM BANS: FORCING PAUSES IN ACTIVE
                  SHOOTINGS

          35.     Restrictions on assault weapons and LCMs also address the multiple advantages

   LCMs provide to active shooters. Offensively, LCMs increase kill potential. Basically, the more

   bullets a shooter can fire at a target within a finite amount of time, the more potential wounds

   they can inflict. Furthermore, the more bullets that strike a victim, the higher the odds that that

   person will die. These two factors—sustained-fire capability and multiple-impact capability—

   allow LCMs to increase a shooter’s kill potential.

          36.     When inserted into either a semiautomatic or fully automatic firearm, an LCM

   facilitates the ability of an active shooter to fire a large number of rounds at an extremely quick

          35
             Elliot Spagat and Julie Watson, “Synagogue Shooter Struggled with Gun, Fled with 50
   Bullets,” Associated Press, April 30, 2019, available at https://apnews.com/article/shootings-
   north-america-us-news-ap-top-news-ca-state-wire-8417378d6b934a8f94e1ea63fd7c0aea (last
   accessed January 24, 2023).
                                                    28
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 30
                                    of 79




   rate without pause. This phenomenon—sustained-fire capability—comes in handy when a target

   is in a gunman’s line of sight for only a few seconds. For example, sustained-fire capability

   allows a reasonably competent shooter to fire three rounds per second with a semiautomatic

   firearm and ten rounds per second with an automatic firearm. That results in numerous chances

   to hit a target in a short window of opportunity, especially when ammunition capacity is large.

          37.     LCMs also facilitate the ability of a shooter to strike a human target with more

   than one round. This phenomenon—multiple-impact capability—increases the chances that the

   victim, when struck by multiple rounds, will die. At least two separate studies have found that,

   when compared to the fatality rates of gunshot wound victims who were hit by only a single

   bullet, the fatality rates of those victims hit by more than one bullet were over 60 percent

   higher.36 The implication is straightforward: being able to strike human targets with more than

   one bullet increases a shooter’s chances of killing their victims. In essence, LCMs are force

   multipliers when it comes to kill potential—and the evidence from gun massacres supports this

   conclusion (see Section II).

          38.     In addition to offensive advantages, LCMs also provide the defensive advantage

   of extended cover. During an active shooting, a perpetrator is either firing their gun or not firing

   their gun. While pulling the trigger, it is difficult for those in harm’s way to take successful

   defensive maneuvers. But if the shooter runs out of bullets, there is a lull in the shooting. This

   precious downtime affords those in the line of fire with a chance to flee, hide, or fight back.

          39.     There are several examples of individuals fleeing or taking cover while active

   shooters paused to reload. For instance, in 2012, several first-graders at Sandy Hook Elementary

   School in Newtown, Connecticut, escaped their attacker as he was swapping out magazines,



          36
            Daniel W. Webster, et al., “Epidemiologic Changes in Gunshot Wounds in
   Washington, DC, 1983–1990,” 127 Archives of Surgery 694 (June 1992) (Attached as Exhibit
   S); Angela Sauaia, et al., “Fatality and Severity of Firearm Injuries in a Denver Trauma Center,
   2000–2013,” 315 JAMA 2465 (June 14, 2016) (Attached as Exhibit T).
                                                    29
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 31
                                    of 79




   allowing them to exit their classroom and dash to safety.37 Other well-known examples include

   the 2007 Virginia Tech and the 2018 Borderline Bar and Grill rampages.38 There is also the

   possibility that someone will rush an active shooter and try to tackle them (or at the very least try

   to wrestle their weapon away from them) while they pause to reload.39 In recent history, there

   have been numerous instances of gunmen being physically confronted by unarmed civilians

   while reloading, bringing their gun attacks to an abrupt end. Prominent examples include the

   1993 Long Island Rail Road, the 2011 Tucson shopping center, the 2018 Nashville Waffle

   House, and the 2022 Laguna Woods church shooting rampages.40 When there are pauses in the

   shooting to reload, opportunities arise for those in the line of fire to take life-saving action.



           37
          See Dave Altimari, et al., “Shooter Paused and Six Escaped,” Hartford Courant,
   December 23, 2012 (Attached as Exhibit U).
           38
              Virginia Tech Review Panel, Mass Shootings at Virginia Tech, April 16, 2007: Report
   of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of Virginia,
   Revised with Addendum, November 2009, available at
   https://scholar.lib.vt.edu/prevail/docs/April16ReportRev20091204.pdf (last accessed February 1,
   2023); “California Bar Shooting: Witnesses Describe Escaping as Gunman Reloaded,” CBS
   News, December 7, 2018, available at https://www.cbsnews.com/news/borderline-bar-shooting-
   thousand-oaks-california-12-dead-witnesses-describe-gunman-storming-in (last accessed
   February 1, 2023).
           39
            The longer a shooter can fire without interruption, the longer they can keep potential
   defenders at bay. The longer potential defenders are kept from physically confronting a shooter,
   the more opportunity there is for the shooter to inflict damage.
           40
              See, Rich Schapiro, “LIRR Massacre 20 Years Ago: ‘I Was Lucky,’ Says Hero Who
   Stopped Murderer,” New York Daily News, December 7, 2013, available at
   http://www.nydailynews.com/new-york/nyc-crime/lirr-massacre-20-years-lucky-hero-stopped-
   murderer-article-1.1540846 (last accessed February 1, 2023); Sam Quinones and Nicole Santa
   Cruz, “Crowd Members Took Gunman Down,” Los Angeles Times, January 9, 2011, available at
   https://www.latimes.com/archives/la-xpm-2011-jan-09-la-na-arizona-shooting-heroes-20110110-
   story.html (last accessed February 1, 2023); Brad Schmitt, “Waffle House Hero: Could You
   Rush Toward a Gunman Who Just Killed People?” The Tennessean, April 24, 2018, available at
   https://www.tennessean.com/story/news/crime/2018/04/24/waffle-house-hero-could-you-rush-
   toward-gunman-who-just-killed-people/543943002 (last accessed February 1, 2023);
   “Parishioners Stop Gunman in Deadly California Church Attack,” NPR, May 16, 2022, available
   at https://www.npr.org/2022/05/16/1099168335/parishioners-stop-gunman-in-california-church-
   shooting (last accessed February 1, 2023).
                                                     30
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 32
                                    of 79




      VI.C.         BANS ON ASSAULT WEAPONS AND LCMS IN PRACTICE

          40.       In light of the growing threat posed by mass shootings, legislatures have enacted

   restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

   such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

   Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

   that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road

   commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to

   all 50 states plus the District of Columbia, bringing the entire country under the ban.41

          41.       Like the state bans on assault weapons and LCMs that were implemented before

   it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

   sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

   weapons and LCMs not legally owned by civilians prior to the date of the law’s effect

   (September 13, 1994).42 Congress, however, inserted a sunset provision in the law which

   allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

   Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

   In the aftermath of the federal ban’s expiration, mass shooting violence in the United States

   increased substantially.43
          42.       The legislative intent of the Town of Superior, the City of Boulder, the City of
   Louisville, and Boulder County in enacting the laws being challenged in the present case is

   similar to that of other legislative bodies that have restricted assault weapons and LCMs:



          41
            Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
   18 U.S.C. § 922(v), (w)(1) (1994)).
          42
             Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
   1994—and Why It Worked,” Washington Post, February 22, 2018, available at
   https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
   assault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
          43
               See sources cited supra note 14.
                                                     31
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 33
                                    of 79




   reducing gun violence, especially the frequency and lethality of mass shootings. Because, on

   average, the use of assault weapons and LCMs results in higher death tolls in mass shootings, the

   rationale for imposing restrictions on assault weapons and LCMs is to reduce the loss of life

   associated with the increased kill potential of such firearm technologies.

          43.     Currently, 32% of the U.S. population is subject to a ban on both assault weapons

   and LCMs. The following is a list of the eleven state-level jurisdictions that presently restrict

   both assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

   pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

   1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

   2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

   (August 29, 2022); Illinois (January 10, 2023); and Washington (April 25, 2023).44 As a

   reminder, from September 13, 1994 through September 12, 2004, the entire country was also

   subject to a federal ban on both assault weapons and LCMs.

          44.     In the field of epidemiology, a common method for assessing the impact of laws

   and policies is to measure the rate of onset of new cases of an event, comparing the rate when

   and where the laws and policies were in effect against the rate when and where the laws and

   policies were not in effect. This measure, known as the incidence rate, allows public health

   experts to identify discernable differences, while accounting for variations in the population,

   over a set period of time. Relevant to the present case, calculating incidence rates across states,

   in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

   during the period of observation, allows for the assessment of the effectiveness of such bans. In

   addition, fatality rates—the number of deaths, per population, that result from particular events




          44
             The dates in parentheses mark the effective dates on which the listed states became
   subject to bans on both assault weapons and LCMs.
                                                    32
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 34
                                    of 79




   across different jurisdictions—also provide insights into the impact bans on assault weapons and

   LCMs have on mass shooting violence.45

          45.     Since September 1, 1990, when New Jersey became the first state to ban both

   assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

   shootings in the United States (Exhibit C).46 Calculating incidence and fatality rates for this

   time period, across jurisdictions with and without bans on both assault weapons and LCMs,

   reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

   shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting

   fatality rates, regardless of whether assault weapons or LCMs were used (Table 7).47

          46.     When calculations go a step further and are limited to mass shootings involving

   assault weapons or LCMs, the difference between the two jurisdictional categories is even more

   pronounced. In the time period from January 1, 1991 through December 31, 2022, accounting

   for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

   in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

   Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

   resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).


          45
             For purposes of this Report, incidence and fatality rates are calculated using methods
   and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
   Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
   Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
   accessed January 3, 2023).
          46
              There were no state bans on both assault weapons and LCMs in effect prior to
   September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
   impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
   the last four months of 1990, extending the analysis back to September 1, 1990 would make no
   difference.
          47
            Between September 13, 1994 and September 12, 2004, the Federal Assault Weapons
   Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
   under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
   coded as being under a ban on both assault weapons and LCMs during the time frame that the
   Federal Assault Weapons Ban was in effect.
                                                   33
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 35
                                    of 79




           47.    All of the above epidemiological calculations lead to the same conclusion: when

   bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

   occur and fewer people die in such shootings—especially incidents involving assault weapons or

   LCMs, where the impact is most striking.

           48.    The main purpose of bans on assault weapons and LCMs is to restrict the

   availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

   weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

   attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

   lost.

           49.    Moreover, forcing active shooters to reload creates critical pauses in an attack.

   These pauses provide opportunities for people in the line of fire to take life-saving measures

   (such as fleeing the area, taking cover out of the shooter’s sight, and fighting back), which in turn

   can help reduce casualties.

           50.    The epidemiological data lend support to the policy choices of the Town of

   Superior, the City of Boulder, the City of Louisville, and Boulder County that seek to enhance

   public safety through restrictions on civilian access to certain firearms and magazines. While

   imposing constraints on assault weapons and LCMs will not prevent every mass shooting, the

   data suggest that legislative efforts to restrict such instruments of violence should result in lives

   being saved.




                                                     34
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 36
                                    of 79




    Table 7. Incidence and Fatality Rates for High-Fatality Mass Shootings, by Whether or
    Not Bans on Assault Weapons and LCMs Were in Effect, 199 1-2022

                                                             Annual
                                  Annual                     Incidents                Annual
                                  Average                    per 100                  Deaths per
                                  Population     Total       Million         Total    1 00 Million
                                  (Millions)     Incidents   Population      Deaths   Pooulation
    All High-Fatality Mass
    Shootings
    Non-Ban States                      1 62.0          68          1 .3 1      720          1 3.89

     Ban States                         1 35.8          25          0.58        208           4.79

    Percentage Decrease in Rate
    for Ban States                                                  56%                       66%
    High-Fatality Mass
    Shootings Involving
    Assault Weapons or LCMs
    Non-Ban States                      162.0           47          0.9 1       575          1 1 .09

    Ban States                          1 35.8          15          0.35        135           3.1 1

    Percentage Decrease in Rate
    for Ban States                                                  62%                       72%

   Note: Population data are from U.S. Census Bureau, "Population and Housing Unit Estimates
   Datasets," available at https://www.census.gov/programs-surveys/popest/data/data-sets.html
   (last accessed January 3, 2023).




            Executed on May 5, 2023, at Nassau County, New York.




                                                      Louis Klarevas


                                                 35
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 37
                                    of 79




                               Exhibit 3
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 38
                                    of 79




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv- 2680


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT,
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO, CITY
   OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



          Defendants.



                           Revised Expert Report of Louis Klarevas




                                             1
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 39
                                    of 79




                       REVISED EXPERT REPORT OF LOUIS KLAREVAS

   I, Louis Klarevas, declare:

          1.       I have been asked by the Defendants to prepare an Expert Report addressing

   recent trends in mass shootings in the United States, the use of assault weapons and

   large-capacity magazines (LCMs) in mass shootings and the impact on fatalities and harm

   caused, and how restrictions on assault weapons and LCMs have affected mass shooting

   violence. This Report is based on my own personal knowledge and experience, and, if I am

   called as a witness, I could and would testify competently to the truth of the matters discussed in

   this Report (“Report” hereinafter).

                                 PROFESSIONAL QUALIFICATIONS
          2.       I am a security policy analyst and, currently, Research Professor at Teachers

   College, Columbia University, in New York. I am also the author of the book Rampage Nation,
   one of the most comprehensive studies on gun massacres in the United States.1

          3.       I am a political scientist by training, with a B.A. from the University of

   Pennsylvania and a Ph.D. from American University. During the course of my nearly 25-year

   career as an academic, I have served on the faculties of George Washington University, the City

   University of New York, New York University, and the University of Massachusetts. I have also

   served as Defense Analysis Research Fellow at the London School of Economics and Political

   Science and as United States Senior Fulbright Scholar in Security Studies at the University of

   Macedonia.

          4.       My current research examines the nexus between American public safety and gun

   violence, including serving as an investigator in a study funded by the National Institutes of

   Health that focuses on reducing intentional shootings at elementary and secondary schools.



          1
              Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
                                                     2
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 40
                                    of 79




           5.      In addition to having made over 100 media and public-speaking appearances, I am

   the author or co-author of more than 20 scholarly articles and over 70 commentary pieces. In

   2019, my peer-reviewed article on the effectiveness of restrictions on LCMs in reducing

   high-fatality mass shootings that result in six or more victims killed was published in the
   American Journal of Public Health.2 This study found that jurisdictions with LCM bans

   experienced substantially lower gun massacre incidence and fatality rates when compared to

   jurisdictions not subject to similar bans. Despite being over 3 years old now, this study

   continues to be one of the highest impact studies in academia. It was recently referred to as “the
   perfect gun policy study,” in part due to the study’s “robustness and quality.”3

           6.      Since January 1, 2019, I have been deposed, testified in court, or testified by

   declaration in the following cases (all in federal court), listed alphabetically by state:

    California – Central District
    Rupp v. Bonta                                                               8:17-cv-00746-JLS-JDE
    California – Eastern District
    Wiese v. Bonta                                                            2:17-cv-00903-WBS-KJN
    California – Southern District
    Duncan v. Bonta                                                               17-cv-1017-BEN-JLB
    Jones v. Bonta                                                                 19-cv-01226-L-AHG
    Miller v. Bonta                                                             3:19-cv-1537-BEN-JBS
    Nguyen v. Bonta                                                         3:20-cv-02470-WQH-MDD
    Colorado
    Gates v. Polis                                                           1:22-cv-01866-NYW-SKC


           2
             Louis Klarevas, et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality
   Mass Shootings,” 109 American Journal of Public Health 1754 (2019), available at
   https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed February
   11, 2023).
           3
             Lori Ann Post and Maryann Mason, “The Perfect Gun Policy Study in a Not So Perfect
   Storm,” 112 American Journal of Public Health 1707 (2022), available at
   https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed February
   11, 2023). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
   and research design that was more rigorous than designs used in observational studies. Also,
   they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
   their findings, for example examining both state bans and federal bans. They helped build the
   foundation for future studies while overcoming the limitations of previous research.” Ibid.
                                                      3
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 41
                                    of 79




    Connecticut
    National Association for Gun Rights v. Lamont                              3:22-cv-01118-JBA
    Grant v. Lamont                                                            3:22-cv-01223-JBA

    Hawaii
    National Association for Gun Rights v. Lopez                            1:22-cv-404-DKW-RT

    Illinois – Northern District
    Viramontes v. Cook County                                                        1:21-cv-04595
    National Association for Gun Rights v. Highland Park                               22-cv-04774
    Herrera v. Raoul                                                                 1:23-cv-00532
    Illinois – Southern District
    Harrel v. Raoul*                                                               23-cv-141-SPM
    Langley v. Kelly*                                                              23-cv-192-SPM
    Barnett v. Raoul*                                                              23-cv-209-SPM
    Federal Firearms Licensees of Illinois v. Pritzker*                            23-cv-215-SPM
    Kenneally v. Raoul                                                              3:23-cv-50039
    Massachusetts
    National Association for Gun Rights v. Campbell                            1:22-cv-11431-FDS
    Oregon
    Oregon Firearms Federation v. Kotek†                                         2:22-cv-01815-IM
    Fitz v. Rosenblum†                                                           3:22-cv-01859-IM
    Eyre v. Rosenblum†                                                           3:22-cv-01862-IM
    Azzopardi v. Rosenblum†                                                      3:22-cv-01869-IM
    Washington – Eastern District
    Brumback v. Ferguson                                                      1:22-cv-03093-MKD
    Banta v. Ferguson                                                         2:23-cv-00112-MKD
    Washington – Western District
    Sullivan v. Ferguson                                                       3:22-cv-05403-DGE
    Hartford v. Ferguson                                                        3:23-cv-05364-RJB
           *
               Non-Consolidated Cases on the Same Briefing Schedule / †Consolidated Cases

          7.       In 2021, I was retained by the Government of Canada in the following cases

   which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

   K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.:

   T-569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

   Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

   File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

   No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

   T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:
                                                   4
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 42
                                    of 79




   T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

   Federal Court of Canada.

           8.      I have also submitted declarations in the following state court cases: People of

   Colorado v. Sgaggio, District Court, El Paso County, Colorado, 2022M005894 (Criminal); and

   Guardian Arms v. Inslee, Superior Court, Grant County, Washington, 23-2-00377-13 (Civil).

           9.      A true and correct copy of my current curriculum vitae is attached as Exhibit A to

   this Report.

           10.     I am being compensated at a rate of $480/hour for my work on this Report,

   $600/hour for any testimony in connection with this matter, and $120/hour for travel required to

   provide testimony.

                                                OPINIONS
           11.     It is my professional opinion, based upon my extensive review and analysis of the

   data, that (1) in terms of individual acts of intentional criminal violence, mass shootings

   presently pose the deadliest threat to the safety of American society in the post-9/11 era, and the

   problem is growing nationwide; (2) high-fatality mass shootings involving assault weapons

   and/or LCMs, on average, have resulted in a substantially larger loss of life than similar incidents

   that did not involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit

   fatalities are relatively modern phenomena in American history, largely related to the use of

   assault weapons and LCMs; (4) assault weapons are used by private citizens with a far greater

   frequency to perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to

   rifles (let alone rifles that qualify as assault weapons), are the most commonly owned firearms in

   the United States; and (6) states that restrict both assault weapons and LCMs experience fewer

   high-fatality mass shooting incidents and fatalities, per capita, than states that do not restrict

   assault weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

   weapons and LCMs have the potential to save lives by reducing the frequency and lethality of
   gun massacres.
         4       4
           For purposes of this Report, mass shootings are defined in a manner consistent with my
   book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
                                                 5
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 43
                                    of 79




   I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

            12.      Examining mass-casualty acts of violence in the United States since 1991 points
   to two disturbing patterns.5 First, as demonstrated in Table 1, the deadliest individual acts of

   intentional criminal violence in the United States since the terrorist attack of September 11,

   2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of

   high-fatality mass shooting violence is on the rise. To put the increase over the last three

   decades into perspective, between the 1990s and the 2010s, the average population of the United

   States increased approximately 20%. However, when the number of people killed in

   high-fatality mass shootings in the 1990s is compared to the number killed in such incidents in

   the 2010s, it reflects an increase of 260%. In other words, the rise in gun massacre violence has

   far outpaced the rise in national population—by a factor of 13. The obvious takeaway from these

   patterns and trends is that mass shootings pose a significant—and growing—threat to American

   public safety.


   Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

            Deaths              Date                       Location               Type of Violence
        1     60           October 1, 2017              Las Vegas, NV              Mass Shooting
        2     49            June 12, 2016                Orlando, FL               Mass Shooting
        3     32            April 16, 2007             Blacksburg, VA              Mass Shooting
        4     27          December 14, 2012             Newtown, CT                Mass Shooting
        5     25          November 5, 2017          Sutherland Springs, TX         Mass Shooting



   book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
   shootings resulting in four or more victims being shot (fatally or non-fatally), regardless of
   location or underlying motive. As a subset of mass shootings, “high-fatality mass shootings”
   (also referred to as “gun massacres”) are defined as shootings resulting in 6 or more victims
   being shot to death, regardless of location or underlying motive. The data on high-fatality mass
   shootings is from a data set that I maintain and continuously update. This data set is reproduced
   in Exhibit C. Unless stated otherwise, all of the data used to perform original analyses and to
   construct tables and figures in Sections I, II, and VI of this Report are drawn from Exhibit C.
            5
             Because the analysis in Section VI of this Report necessarily uses data from 1991
   through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
   I and II also use data from 1991 through 2022.
                                                     6
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 44
                                    of 79




      6   23       August 3, 2019          El Paso, TX        Mass Shooting
      7   21       May 24, 2022            Uvalde, TX         Mass Shooting




                                       7
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 45
                                    of 79




   Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the
   x-axis and y-axis variables, the trendline moves upwards from left to right. When there is a
   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.


   Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022




   Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
   overall pattern of the individual data points. When there is a positive relationship between the
   x-axis and y-axis variables, the trendline moves upwards from left to right. When there is a

                                                      8
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 46
                                    of 79




   negative relationship between the x-axis and y-axis variables, the trendline moves downwards
   from left to right.
   II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
          MASS SHOOTING VIOLENCE


          13.     In addition to showing that the frequency and lethality of high-fatality mass
   shootings are on the rise nationally, the data point to another striking pattern: both assault
   weapons and LCMs are being used with increased frequency to perpetrate gun massacres.6 As

   shown in Figures 3-4, based on high-fatality mass shootings where details allow a determination

   on the use of assault weapons and LCMs are available, over half of all incidents in the last four

   years involved assault weapons and all incidents in the last four years involved LCMs having a

   capacity greater than 10 bullets. As shown in Figures 5-6, a similar pattern emerges when

   examining deaths in high-fatality mass shootings in the last four years, with 62% of deaths

   resulting from incidents involving assault weapons and 100% of deaths resulting from incidents

   involving LCMs having a capacity greater than 10 bullets. These trends demonstrate that, among




          6
             Assault weapons are generally semiautomatic firearms that fall into one of the following
   three categories: assault pistols, assault rifles, and assault shotguns. For purposes of this Report,
   unless otherwise stated, assault weapons are defined and coded in a manner consistent with
   Exhibit C. Per the 1994 federal ban definition, LCMs are generally ammunition-feeding devices
   with a capacity greater than 10 bullets. The ammunition threshold of the 1994 federal definition
   (greater than 10 bullets) is identical to that of the definition of LCMs in the ordinances of all four
   jurisdictions that are parties in the present case. For purposes of this Report, unless otherwise
   stated, LCMs will be defined in a manner consistent with the 1994 federal ban on LCMs, which
   defined them as ammunition-feeding devices with a capacity greater than 10 bullets. While the
   term “assault weapons” as referenced in the present case is defined by law, the modern-day roots
   of the term can be traced back to the 1980s, when gun manufacturers branded military-style
   firearms with the label in an effort to make them more marketable to civilians. See, Violence
   Policy Center, Assault Weapons and Accessories in America (1988) (Attached as Exhibit D);
   Violence Policy Center, Bullet Hoses: Semiautomatic Assault Weapons—What Are They? What’s
   So Bad about Them? (2003) (Attached as Exhibit E); Phillip Peterson, Gun Digest Buyer’s
   Guide to Assault Weapons (2008) (Relevant Excerpt Attached as Exhibit F); and Erica Goode,
   “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times, January 16, 2013, available
   at https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-complicated.html
   (last accessed January 24, 2023).
                                                     9
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 47
                                    of 79




   perpetrators of gun massacres, there is a growing preference for using assault weapons and
   LCMs to carry out their attacks.7
   Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
   1991-2022




   Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


   Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds), 1991-2022




          7
            Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
   it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for two
   of these 14 incidents, it is also not possible to determine whether they involved assault weapons.
   Therefore, the tables, figures, and percentages discussed in this section of the Report are based
   on calculations that only use data points from the incidents in which the involvement of assault
   weapons and/or LCMs could be determined.
                                                   10
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 48
                                    of 79




   Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.

   Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   Assault Weapons, 1991-2022




   Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


   Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
   LCMs (Ammunition Capacity Greater Than 10 Rounds), 1991-2022




                                                 11
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 49
                                    of 79




   Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.




          14.     The growing use of assault weapons to carry out high-fatality mass shootings is an

   obvious theme reflected in the data. The disproportionate resort to assault weapons by

   perpetrators of high-fatality mass shootings is another clear theme. Based on information

   contained in National Sport Shooting Foundation (NSSF) and federal government datamaterials,

   “modern sporting rifles”—which is a firearm industry term for AR-15-platform and

   AK-47-platform firearms—make up approximatelyless than 5.3% of all firearms in circulation in

   American society, according to the most recent publicly available data (24.4 million out of an
   estimated 461.9 million firearms).8And, in all likelihood, this is an over-estimation because the

          8
             The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
   Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
   there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
   as of the end of 2020 (when the most recent data are available). NSSF, “Commonly Owned:
   NSSF Announces over 24 Million MSRs in Circulation,” July 20, 2022, available at
   https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-circulat
   ion (last accessed January 3, 2023). In a 2020 report that captured data through the end of 2018,
   the NSSF estimated that there were 433.9 million total firearms in civilian circulation in the
   United States. NSSF, Firearm Production in the United States with Firearm Import and Export
   Data, Industry Intelligence Report, 2020, at 18, available at
                                                   12
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 50
                                    of 79




   figures appear to include firearms belonging to law enforcement agencies in the United
   States.9But even using this estimate, if assault weapons were used in proportion to the percentage

   of modern sporting rifles in circulation, approximately 5% of all high-fatality mass shootings

   would involve assault weapons. However, as seen in Figure 3 above, civilian ownership rates
   and mass-shooter use rates are not similar. Indeed.8 As seen in Figure 3 above, the rate at which


   https://www.nssf.org/wp-content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last
   accessed January 3, 2023). According to ATF data, in 2019 and 2020, an additional 28.0 million
   firearms entered the civilian stock nationwide. ATF, National Firearms Commerce and
   Trafficking Assessment: Firearms in Commerce (2022), at 181, 188, 193, available at
   https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-assessmen
   t-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming these figures
   reported by the NSSF and ATF are accurate, this brings the estimated number of firearms in
   civilian circulation through the end of 2020 to approximately 461.9 million. The ownership rate
   is calculated as follows: 24.4 million modern sporting rifles divided by 461.9 million total
   firearms equals approximately 5.3%.
          9
              ATF, 2022, supra note 8, at 12; NSSF, 2020, supra note 8, at 2-3.
          8
             The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
   Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) numbers. The NSSF claims that
   there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
   as of the end of 2020. NSSF, “Commonly Owned: NSSF Announces over 24 Million MSRs in
   Circulation,” July 20, 2022, available at
   https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-circulat
   ion (last accessed January 3, 2023). The NSSF’s figure of 24.4 million modern sporting rifles in
   the hands of private citizens is actually an over-estimation because it includes firearms belonging
   to law enforcement and security agencies, firearms wholesalers and retailers, prohibited owners
   (such as criminals and domestic abusers), as well as firearms that have been illegally trafficked
   to other countries. The NSSF also fails to account for firearm attrition, which is the number of
   firearms that are lost, decommissioned (including due to deterioration), and destroyed. See
   Deposition of James Curcuruto, Wiese v. Bonta, 2:17-cv-00903-WBS-KJN (E.D. Cal.), August
   3, 2023, 126:9–127:22, 128:6–129:9, 131:18–133:3, 152:2-6, available via Declaration of
   Andrew Hughes, Ex. 1, Sullivan v. Ferguson, 3:22-cv-05403-DGE (W.D. Was.), ECF 119-1. In
   a 2020 report that purported to record figures through the end of 2018, the NSSF estimated that,
   including imported firearms, there were 433.9 million total firearms manufactured for domestic
   distribution in the United States. NSSF, Firearm Production in the United States with Firearm
   Import and Export Data, Industry Intelligence Report, 2020, at 18, available at
   https://www.nssf.org/wp-content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last
   accessed January 3, 2023). According to ATF data, in 2019 and 2020, an additional 28.0 million
   firearms entered the nationwide stock. ATF, National Firearms Commerce and Trafficking
   Assessment: Firearms in Commerce (2022), at 181, 188, 193, available at
   https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-assessmen
                                                     13
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 51
                                    of 79




   perpetrators of high-fatality mass shootings use assault weapons is not comparable to the rate at

   which modern sporting rifles circulate in American society. Indeed, even using the over-estimate

   of a 5.3% private citizen ownership rate for modern sporting rifles, the current difference is

   approximately ten-fold, with the rate at which assault weapons are now used to commit gun

   massacres far outpacing the rate at which modern sporting rifles circulate amongst
   civiliansprivate citizens in the United States.109

          15.     Another pattern that stands out when examining the relationship between assault

   weapons use and gun massacre violence reflects the disproportionately greater lethality

   associated with the use of assault weapons and LCMs. For instance, returning to the

   aforementioned list of the seven deadliest individual acts of intentional criminal violence in the

   United States since the coordinated terrorist attack of September 11, 2001, besides all seven of

   the incidents being mass shootings, six of the seven incidents (86%) involved assault weapons

   and LCMs, as shown in Table 2. When examining all high-fatality mass shootings since 1991,

   the relationship between assault weapons use, LCM use, and higher death tolls is striking. In the

   past 32 years, assault weapons and LCMs with an ammunition capacity greater than 10 rounds

   have been used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as

   the fatality thresholds of such incidents increase, so too do the shares of incidents involving

   assault weapons and LCMs. For instance, assault weapons and LCMs were used, respectively,

   in 75% and 100% of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the


   t-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming these figures
   reported by the NSSF and ATF are accurate, this brings the estimated number of firearms in the
   United States (not including those in the control of the U.S. military) through the end of 2020 to
   approximately 461.9 million. The ownership rate is calculated as follows: the NSSF’s claim of
   24.4 million modern sporting rifles divided by 461.9 million total firearms equals approximately
   5.3%. However, given that the NSSF numbers are inflated because they include modern sporting
   rifles that are not in the possession of private citizens, the ownership rate for modern sporting
   rifles is necessarily less than 5.3%.
          109
              Due to the lack of accurate data on the number of LCMs in civilian circulation, there
   is no way to perform a similar comparison using LCMs instead of modern sporting rifles.
                                                        14
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 52
                                    of 79




   data show, there is an association between mass shooting lethality and the use of assault weapons

   and LCMs.




                                                  15
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 53
                                    of 79




   Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
   Criminal Violence in the U.S. since 9/11

                                                             Involved               Involved
                                                              Assault                LCMs
    Deaths        Date                Location               Weapons            ( > 10 Rounds )
      60       10/1/2017           Las Vegas, NV              (AR-15)                 
      49        612/2016            Orlando, FL               (AR-15)                 
      32       4/16/2007          Blacksburg, VA                                       
      27       12/14/2012          Newtown, CT                (AR-15)                 
      25       11/5/2017       Sutherland Springs, TX         (AR-15)                 
      23        8/3/2019            El Paso, TX               (AK-47)                 
      21       5/24/2022            Uvalde, TX                (AR-15)                 


   Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
   Fatality Threshold, 1991-2022




   Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.




                                                 16
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 54
                                    of 79




   Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs (Ammunition
   Capacity Greater Than 10 Rounds) by Fatality Threshold, 1991-2022




   Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.


          16.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

   firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

   toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

   the 60 incidents in which it is known assault weapons were not used (which resulted in 490

   fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

   shootings since January 1, 1991, in which LCM use was determined, 61 involved LCMs with an

   ammunition capacity greater than 10 rounds, resulting in 704 deaths. The average death toll for

   these 61 incidents is 11.5 fatalities per shooting. The average death toll for the 18 incidents in

   which it is known LCMs were not used (which resulted in 132 fatalities) is 7.3 fatalities per

   shooting (Table 4). In other words, in the last 32 years, the use of assault weapons and LCMs in

   gun massacres has resulted, correspondingly, in 67% and 58% increases in average fatalities per

   incident (Tables 3-4).



                                                     17
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 55
                                    of 79




          17.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

   are attributable to assault weapons beyond deaths associated with the use of LCMs. When

   LCMs with an ammunition capacity greater than 10 rounds are not used, the average death toll is

   7.3 fatalities. When LCMs are used, but not in conjunction with assault weapons, the average

   death toll is 9.2 fatalities. When LCMs are used with assault weapons, the average death toll is

   14.0 fatalities. The data show that using LCMs without an assault weapon resulted in a 26%

   increase in the average death toll. However, using LCMs with an assault weapon resulted in a

   52% increase in the average death toll associated with incidents that involved LCMs without

   assault weapons and a 92% increase in the average death toll associated with incidents that

   involved neither LCMs nor assault weapons.

          17.     This review of the data suggests that assault weapons and LCMs are force

   multipliers when used in mass shootings.


   Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in
   High-Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for
                         Incidents That Did Not       Incidents That Did Involve Percent Increase in Average
                         Involve the Use of Assault   the Use of Assault         Death Toll Associated with the
                         Weapons                      Weapons                    Use of Assault Weapons
    1991-2022                     8.2 Deaths                  13.7 Deaths                     67%

   Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.



   Table 4. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) in High-Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for       Average Death Toll for     Percent Increase in Average
                         Incidents That Did Not       Incidents That Did Involve Death Toll Associated with the
                         Involve the Use of LCMs      the Use of LCMs            Use of LCMs
    1991-2022                     7.3 Deaths                  11.5 Deaths                     58%

   Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.

                                                      18
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 56
                                    of 79




                                       19
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 57
                                    of 79




   Table 5. The Average Death Tolls Associated with the Use of LCMs (Ammunition
   Capacity Greater Than 10 Rounds) and Assault Weapons in High-Fatality Mass Shootings
   in the U.S., 1991-2022


                                                                               Average
    Average                                              Average               Death Toll Average
    Death Toll Average                     Average       Death Toll            for        Death Toll
    for Incidents Death Toll               Death Toll for                      Incidents for
    Not           for Incidents            for Incidents Incidents             Not        Incidents
    Involving     Involving                Involving     Involving             Involving Involving
    LCMs or       LCMs but      Percent    LCMs but      LCMs and Percent      LCMs or LCMs and Percent
    AWs           Not AWs       Increase   Not AWs       AWs        Increase   AWs        AWs        Increase
         7.3           9.2         26%          9.2         14.0       52%         7.3       14.0       92%


   Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons
   and/or LCMs were used.


   III.    DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
           PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
           ASSAULT WEAPONS


           18.      I have also examined the historical occurrence and distribution of mass shootings
   resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9).1110 In terms of the

   origins of this form of extreme gun violence, there is no known occurrence of a mass shooting

   resulting in double-digit fatalities during the 173-year period between the nation’s founding in

   1776 and 1948. The first known mass shooting resulting in 10 or more deaths occurred in 1949.

   In other words, for 70% of its 247-year existence as a nation, the United States did not

   experience a single mass shooting resulting in double-digit fatalities. They are relatively modern
   phenomena
           1110 in American history.
                                      1211
                I searched for firearm-related “murders,” using variations of the term, setting a
   minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
   available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
   Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
   large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
   attacks initiated by authorities acting in their official capacity were excluded.
           1211
              Using the Constitution’s effective date of 1789 as the starting point would lead to the
   conclusion that, for 68% of its 234-year existence as a nation, the United States did not
                                                   20
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 58
                                    of 79




          19.       After the first such incident in 1949, 17 years passed until a similar mass shooting

   occurred in 1966. The third such mass shooting then occurred nine years later, in 1975. And the

   fourth such incident occurred seven years after, in 1982. Basically, the first few mass shootings

   resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

   first few double-digit-fatality incidents occurred with relative infrequency, although the temporal
   gap between these first four incidents shrank with each event (Table 6 and Figure 10).1312




   conclusion that, for 68% of its 234-year existence as a nation, the United States did not
   experience a mass shooting resulting in double-digit fatalities.
          1312
                 Figures 9-10 are reproduced in larger form as Exhibit G of this Report.
                                                     21
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 59
                                    of 79




   Table 6. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022

                                                                    Involved
                                                                     Assault         Involved
             Date                 Location              Deaths      Weapon(s)        LCM(s)
      1       9/6/1949          Camden, NE                13           N                N
      2       8/1/1966           Austin, TX               14           N                Y
      3      3/30/1975         Hamilton, OH               11           N                N
      4      9/25/1982       Wilkes-Barre, PA             13           Y                Y
      5      2/18/1983          Seattle, WA               13           N                N
      6      4/15/1984         Brooklyn, NY               10           N                N
      7      7/18/1984        San Ysidro, CA              21           Y                Y
      8      8/20/1986          Edmond, OK                14           N                N
      9     10/16/1991          Killeen, TX               23           N                Y
     10      4/20/1999          Littleton, CO             13           Y                Y
     11      4/16/2007        Blacksburg, VA              32           N                Y
     12      3/10/2009      Geneva County, AL             10           Y                Y
     13       4/3/2009        Binghamton, NY              13           N                Y
     14      11/5/2009         Fort Hood, TX              13           N                Y
     15      7/20/2012           Aurora, CO               12           Y                Y
     16     12/14/2012         Newtown, CT                27           Y                Y
     17      9/16/2013        Washington, DC              12           N                N
     18      12/2/2015      San Bernardino, CA            14           Y                Y
     19      6/12/2016          Orlando, FL               49           Y                Y
     20      10/1/2017         Las Vegas, NV              60           Y                Y
     21      11/5/2017     Sutherland Springs, TX         25           Y                Y
     22      2/14/2018          Parkland, FL              17           Y                Y
     23      5/18/2018          Santa Fe, TX              10           N                N
     24     10/27/2018         Pittsburgh, PA             11           Y                Y
     25      11/7/2018      Thousand Oaks, CA             12           N                Y
     26      5/31/2019      Virginia Beach, VA            12           N                Y
     27       8/3/2019          El Paso, TX               23           Y                Y
     28      3/22/2021          Boulder, CO               10           Y                Y
     29      5/14/2022          Buffalo, NY               10           Y                Y
     30      5/24/2022           Uvalde, TX               21           Y                Y

   Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
   weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
   1994 Federal Assault Weapons Ban or (2) the statutes of the state where the gun massacre
   occurred. An incident was coded as involving an LCM if at least one of the firearms discharged
   had an ammunition-feeding device holding more than 10 bullets.


                                                 22
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 60
                                    of 79




   Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022




   Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022




                                               23
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 61
                                    of 79




          20.     The distribution of double-digit-fatality mass shootings changes in the early

   1980s, when five such events took place in a span of just five years (Table 6 and Figure 10).

   This timeframe also reflects the first time that assault weapons were used to perpetrate mass

   shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

   AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an

   Uzi pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year

   period in which only two double-digit-fatality mass shootings occurred (Figure 10). This period

   of time from 1987-2007 correlates with three important federal firearms measures: the 1986

   Firearm Owners Protection Act, the 1989 C.F.R. “sporting use” importation restrictions, and the

   1994 Federal Assault Weapons Ban.

          21.     It is well-documented in the academic literature that, after the Federal Assault
   Weapons Ban expired in 2004, mass shooting violence increased substantially.1413 Mass

   shootings that resulted in 10 or more deaths were no exception, following the same pattern. In

   the 56 years from 1949 through 2004, there were a total of 10 mass shootings resulting in

   double-digit fatalities (a frequency rate of one incident every 5.6 years). In the 18 years since

   2004, there have been 20 double-digit-fatality mass shootings (a frequency rate of one incident

   every 0.9 years). In other words, the frequency rate has increased over six-fold since the Federal

   Assault Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons

   Ban and its impact on mass shooting violence is discussed in further detail in Section VI of this

   Report.)


          1413
              See, for example, Louis Klarevas, supra note 1 (Relevant Excerpt Attached as
   Exhibit H); Louis Klarevas, et al., supra note 2 (Attached as Exhibit I); Charles DiMaggio, et
   al., “Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault
   Weapons Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery
   11 (2019) (Attached as Exhibit J); Lori Post, et al., “Impact of Firearm Surveillance on Gun
   Control Policy: Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance
   (2021) (Attached as Exhibit K); and Philip J. Cook and John J. Donohue, “Regulating Assault
   Weapons and Large-Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022
   (Attached as Exhibit L).
                                                    24
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 62
                                    of 79




          22.     Over three-quarters of the mass shootings resulting in 10 or more deaths involved

   assault weapons and/or LCMs (Table 6). As also shown in the analyses of mass shootings in

   Section II, death tolls in double-digit-fatality mass shootings are related to the use of firearm

   technologies like assault weapons and LCMs that, in terms of mass shootings, serve as force

   multipliers.


   IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN
          SELF-DEFENSE DURING ACTIVE SHOOTINGS

          23.     An important question that, until now, has gone unanswered is: Are assault

   weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

   above in Section II, assault weapons have been used to perpetrate approximately one-third of

   high-fatality mass shootings in the past 32 years (Figure 3). And in the past eight years, the share

   of high-fatality mass shootings that have been perpetrated with assault weapons has risen to

   approximately half (Figure 3).
          24.     The Federal Bureau of Investigation (FBI) has been documenting active shooter
   incidents since 2000.1514 According to the FBI, active shootings are violent attacks that involve

   “one or more individuals actively engaged in killing or attempting to kill people in a populated
   area.”1615 A simple way to conceptualize active shooter incidents is to think of them as


          1514
               All of the information in this section, including definitions and data, are publicly
   available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
   https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
   accessed January 2, 2023).
          1615
               FBI, Active Shooter Incidents in the United States in 2022, April 2023, at 1, available
   at https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-2022-042623.pdf/view
   (last accessed May 4, 2023). The FBI adds, “Implicit in this definition is the shooter’s use of one
   or more firearms. The active aspect of the definition inherently implies the ongoing nature of the
   incidents, and thus the potential for the response to affect the outcome.” Ibid. (emphasis in
   original). In addition to the report on incidents in 2022, the FBI has published seven other
   reports on active shooter incidents covering the following seven time periods: 2000-2013,
   2014-2015, 2016-2017, 2018, 2019, 2020, and 2021. All of these reports are available at the
   FBI’s “Active Shooter Safety Resources” website, supra note 15.
                                                    25
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 63
                                    of 79




   attempted mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies

   incidents that involved armed civilians using their personal firearms to intervene, regardless of

   whether the interventions were successful in stopping the attacks and/or neutralizing the

   perpetrator(s).

          25.        In the 23 years between January 1, 2000 and December 31, 2022, the FBI has

   identified 456 active shootings occurring in the United States. Out of these 456 active shooter

   incidents, 18 incidents (3.9%) involved defensive gun uses (DGUs) by civilians, excluding law
   enforcement or armed security.1716 Of these 18 DGUs, the firearm used by an armed private

   citizen intervening was identifiable in 17 incidents; 14 involved handguns and the remaining
   three involved long guns (one shotgun, one bolt-action rifle, and one assault rifle).1817 In other

   words, out of the 17 incidents where an armed civilian intervened and it was possible to identify
   the DGU firearm, only one incident (5.9%) involved an assault weapon.1918 Within the broader

   context of all active shooter incidents, only one incident out of 456 in the past 23 years (0.2%) is
   known to have involved an armed civilian intervening with an assault weapon.2019
          1716
              In 17 of the 18 DGU-involved active shooter incidents, there was an exchange of
   gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
   was used to detain the active shooter after the shooting had ceased. FBI, supra notes 15 and 16.
          1817
               All 14 DGU incidents that involved handguns also involved armed civilians who held
   valid concealed-carry permits or were legally carrying their handguns. Ibid. In 12 of these 14
   incidents, details about the types of handguns used in self-defense were available in news media
   accounts or in news media photographs of the crime scene. In two of the 14 incidents, the use of
   concealed handguns was inferred based on details about the shooting reported in news media
   accounts. There is no evidence that either of these two DGU incidents involved an assault pistol.
          1918
               The FBI also identifies an incident in which an armed individual (a local firefighter)
   subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
   his handgun during the incident. Ibid. Moreover, local authorities have refused to comment on
   whether the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
   Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
   https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-sher
   iff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 17 DGU-involved
   incidents would mean that 5.6% (as opposed to 5.9%) of the active shooter incidents, where an
   armed civilian intervened, involved an assault weapon.
          2019
             FBI, supra notes 15 and 16. The one DGU that involved an assault weapon was the
   2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
                                                26
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 64
                                    of 79




          26.     The bottom line is that assault weapons are used by civilians with a far greater
   frequency to perpetrate mass shootings than to stop mass shootings.2120


                      V. OWNERSHIP RATES OF “MODERN SPORTING RIFLES” IN THE U.S.

          27.     As noted above in Para. 13, based on the most recent publicly available NSSF and

   federal government data14, modern sporting rifles—such as AR- and AK-platform

   firearms—appear to make up as many asless than 5.3% of all firearms in circulation in American

   society, (24.4 million out of an estimated 461.9 million firearms, although this is likely an
   overestimate due to the apparent inclusion of modern sporting rifles possessed by law

   enforcement agenciesexcluding those in the control of the U.S. military). Furthermore, in its

   mosta recent survey data (2022), the NSSF found that civilian owners of modern sporting rifles
   own, on average, 3.8 such rifles, with 24% of these owners possessing only one such rifle.2221

   Based on this data, onlyless than 6.4 million gun owners—out of an estimated 81 million
   Americans who own at least one personal firearm—own modern sporting rifles.2322 In other


   2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
   used an AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene.
   While the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed
   his vehicle trying to escape and then took his life with his own firearm before law enforcement
   could apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
   KHBS/KHOG, November 7, 2017, available at
   https://www.4029tv.com/article/man-who-shot-texas-church-gunman-shares-his-story/13437943
   (last accessed January 3, 2023).
          2120
               Given the limitations of the active shooter incident data reported by the FBI, it is not
   possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
   with an LCM at the time of the intervention. As such, it is not possible to perform a similar
   comparison between mass shootings perpetrated with LCM-equipped firearms and mass
   shootings thwarted with LCM-equipped firearms.
          2221
               NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and
   AK-Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available
   at https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf
   (last accessed January 16, 2023).
          2322
            The estimate that approximatelyless than 6.4 million gun owners possess what the
   NSSF considers to be modern sporting rifles is calculated by dividing the 3.8 average number of
                                                  27
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 65
                                    of 79




   words, less than 8% of all civilian gun owners in the United States own modern sporting
   rifles.2423 In terms of the total population of the United States, estimated by the Census Bureau

   to be approximately 333 million people in 2022, less than 2% of all Americans own a modern
   sporting rifle.2524

           28.      In deriving its estimates, the NSSF often relies on United States government data,
   particularly ATF data.26According to the ATF, from 1986 through 2020 (which reflects the most

   currently availablecurrently-available data), the civilian stock of firearms in the United States has




   such rifles that each modern sporting rifle owner possesses into the NSSF’s claim that 24.4
   million such rifles estimated to be in civilian circulationmake up the nationwide stock (excluding
   modern sporting rifles in the control of the U.S military). This calculation (24.4 million divided
   by 3.8) equals 6.4 million. However, given that the NSSF numbers are inflated because they
   include modern sporting rifles that are not in the possession of private citizens, the number of
   gun owners that have modern sporting rifles is necessarily less than 6.4 million. Based on
   survey data, 81 million American adults are estimated to own guns. Andy Nguyen, “Proposed
   Assault Weapons Ban Won’t Turn Gun Owners into Felons Overnight,” PolitiFact, The Poynter
   Institute, August 3, 2022, available at
   https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-b
   an-wont-turn-gun-owners- (last accessed January 16, 2023).
           2423
               The finding that less than 8% of all gun owners possess modern sporting rifles is
   calculated by dividing the 6.4 million modern sporting rifle owners (which is an over-estimation)
   by the 81 million American adults estimated to be gun owners. Taking 6.4 million and dividing
   it by 81 million equals 7.9%.
           2524
              The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
   Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid
   COVID-19 Pandemic,” December 22, 2022, available at
   https://www.census.gov/newsroom/press-releases/2022/2022-population-estimates.html#:~:text=
   DEC.,components%20of%20change%20released%20today (last accessed January 16, 2023).
   The finding that less than 2% of all Americans possess modern sporting rifles is calculated by
   dividing the 6.4 million modern sporting rifle owners (which is an over-estimation) by the 333
   million persons in the United States. Taking 6.4 million and dividing it by 333 million equals
   1.9%.
           26
                NSSF, 2020, supra note 8.
                                                    28
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 66
                                    of 79




   been made up predominantly of handguns.2725 As Figure 11 shows, handguns account for 50%

   of the civilian stock of firearms, rifles account for 33%, and shotguns account for 17%.

          29.     According to ATF data, handguns are the most commonly owned firearms; not
   rifles, and most certainly not modern sporting rifles that qualify as assault weapons.2826



   Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020




          2725
               For data on the number of firearms manufactured, imported, and exported, by
   category of firearm, from 2000-2020, see ATF, supra note 8. For similar data covering
   1986-1999, see ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021,
   available at https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download
   (last accessed January 16, 2023).
          2826
               Due to the lack of accurate data on the number of LCMs in civilian circulation, there
   is no way to perform a similar analysis of ownership rates using LCMs instead of modern
   sporting rifles.
                                                    29
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 67
                                    of 79




   VI.      RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
            MASSACRES, RESULTING IN LIVES SAVED

         VI.A.        THE OPERATIVE MECHANISM OF ASSAULT WEAPONS BANS: SUPPRESSION AND
                      SUBSTITUTION EFFECTS

            30.       As conceptualized in the Trinity of Violence model that I developed in my book

   on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a
   target (Figure 12).2927 The key to mitigating violence is to “break the trinity” by hindering at

   least one of the three elements. This is accomplished by dissuading the potential offender(s),
   denying the potential instrument(s) of violence, or defending the potential victim(s).3028


   Figure 12. The Trinity of Violence




            31.       Bans are law-based concepts that prohibit certain behaviors by criminalizing
   them.3129 Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

            2927
                   Klarevas, supra note 1, at 27-29, 229-238.
            3028
                   Ibid.
            3129
             Philip J. Cook, “Research in Criminal Deterrence: Laying the Groundwork for the
   Second Decade,” 2 Crime and Justice 211 (1980) (Attached as Exhibit M); and Daniel S. Nagin,
   “Deterrence in the Twenty-First Century,” 42 Crime and Justice 199 (2013) (Attached as
   Exhibit N).
                                                      30
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 68
                                    of 79




   transfer, own, or possess certain firearms and certain magazines. Bans work in relation to two of

   the three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,

   bans use the threat of criminal penalty to deter potential offenders from engaging in the

   prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

   imprisonment, and/or fines should an individual build or otherwise acquire a prohibited assault

   weapon or LCM. The primary mechanism at work here centers around dissuading potential

   shooters from trying to acquire banned firearm technologies. But there is also a secondary

   mechanism at work, focused on the assault weapon or LCM itself: deprive potential instruments

   of violence. Knowing that someone who is willing to commit murder might not be deterred from

   violating another criminal law, like possessing a prohibited item, bans on assault weapons and

   LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

   a restricted item to someone who is prohibited from acquiring it. This, in essence, reinforces the

   strategy of dissuading the offender with the strategy of denying the instruments of violence.

          32.     Ideally, someone intent on committing a mass shooting with an assault weapon

   and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

   are not available. In such a scenario, the attack would be quashed. This suppression effect is

   akin to what economists and psychologists refer to as a positive spillover effect, where one
   desirable outcome produces a second, loosely related desirable outcome.3230 A real-world

   example of this is the so-called “Matrix Killings,” where a 19-year-old Virginia man blamed The

   Matrix film for driving him to murder his parents with a shotgun (that did not have an LCM). At

   the time of the crime in 2003, the Federal Assault Weapons Ban was in effect, preventing him

   from obtaining an assault rifle and LCMs. In a 2013 jailhouse interview, he told CNN, “If I had


          3230
              Paul Dolan and Mateo M. Galizzi, “Like Ripples on a Pond: Behavioral Spillovers
   and Their Implications for Research and Policy,” 47 Journal of Economic Psychology 1 (2015)
   (Attached as Exhibit O); K. Jane Muir and Jessica Keim-Malpass, “Analyzing the Concept of
   Spillover Effects for Expanded Inclusion in Health Economics Research,” 9 Journal of
   Comparative Effectiveness Research 755 (2020) (Attached as Exhibit P).
                                                   31
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 69
                                    of 79




   an assault weapon, things would have been much worse.” He added that had he had an AR-15

   instead of a shotgun, he is positive that, after killing his parents, he would have gone on a

   rampage and “killed as many people as I possibly could.” As he noted, “because I didn’t have an
   assault weapon, that didn’t happen.”3331 In this case, the unavailability of an assault weapon due

   to the federal ban appears to have suppressed the perpetrator’s impulse to commit a mass

   shooting.

           33.     Of course, some potential mass shooters will not be discouraged from going on a

   killing spree just because their means of choice are unavailable. They will instead replace their

   desired instruments of violence with available alternatives. This is commonly referred to as the

   substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal
   instrument of violence.3432 A real-world example of the substitution effect at work is the 2019

   synagogue rampage in Poway, California. In that attack, the gunman appears to have been

   unable to acquire an assault rifle and LCMs due to California’s ban on both. Instead, he acquired

   what is known as a California-compliant semiautomatic rifle (which lacked features such as a

   pistol grip and a forward hand grip) and 10-round magazines. As a result, the gunman quickly

   ran out of bullets, and while pausing to reload—which appears to have been extremely difficult

   given that he did not have assault weapon features on his rifle that facilitated fast reloading—a
   congregant chased him away, preventing him from continuing his attack.3533 In this incident,


           3331
                “Inside the Mind of a Killer,” CNN (Transcripts), August 23, 2013, available at
   https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/01 (last accessed January 24,
   2023).
           3432
              Philip J. Cook, “The Effect of Gun Availability on Violent Crime Patterns,” 455
   Annals of the American Academy of Political and Social Science 63 (1981) (Attached as Exhibit
   Q); Anthony A. Braga, et al., “Firearm Instrumentality: Do Guns Make Violent Situations More
   Lethal?” 4 Annual Review of Criminology 147 (2021) (Attached as Exhibit R).
           3533
               Elliot Spagat and Julie Watson, “Synagogue Shooter Struggled with Gun, Fled with
   50 Bullets,” Associated Press, April 30, 2019, available at
   https://apnews.com/article/shootings-north-america-us-news-ap-top-news-ca-state-wire-8417378
   d6b934a8f94e1ea63fd7c0aea (last accessed January 24, 2023).
                                                      32
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 70
                                    of 79




   which resulted in one death, California’s ban on assault weapons and LCMs worked exactly as

   intended. It deprived the active shooter of the mechanisms that might have allowed him to kill

   enough people to surpass the fatality threshold of a mass shooting. Stated differently, if you

   examine data sets that identify shootings resulting in mass murder, you will not find the Poway

   synagogue attack on their lists.

          34.     It might seem perverse to think that restrictions on certain instruments of violence

   operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

   alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

   work in theory. They suppress the inclinations of potential mass shooters to go on killing

   rampages in the first place because their means of choice are unavailable. And, should

   deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

   prohibited ones, reducing the casualty tolls of attacks when they do occur.

      VI.B.       THE OPERATIVE MECHANISM OF LCM BANS: FORCING PAUSES IN ACTIVE
                  SHOOTINGS

          35.     Restrictions on assault weapons and LCMs also address the multiple advantages

   LCMs provide to active shooters. Offensively, LCMs increase kill potential. Basically, the more

   bullets a shooter can fire at a target within a finite amount of time, the more potential wounds

   they can inflict. Furthermore, the more bullets that strike a victim, the higher the odds that that
   person will die. These two factors—sustained-fire capability and multiple-impact

   capability—allow LCMs to increase a shooter’s kill potential.

          36.     When inserted into either a semiautomatic or fully automatic firearm, an LCM

   facilitates the ability of an active shooter to fire a large number of rounds at an extremely quick

   rate without pause. This phenomenon—sustained-fire capability—comes in handy when a target

   is in a gunman’s line of sight for only a few seconds. For example, sustained-fire capability

   allows a reasonably competent shooter to fire three rounds per second with a semiautomatic


                                                    33
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 71
                                    of 79




   firearm and ten rounds per second with an automatic firearm. That results in numerous chances

   to hit a target in a short window of opportunity, especially when ammunition capacity is large.

          37.     LCMs also facilitate the ability of a shooter to strike a human target with more

   than one round. This phenomenon—multiple-impact capability—increases the chances that the

   victim, when struck by multiple rounds, will die. At least two separate studies have found that,

   when compared to the fatality rates of gunshot wound victims who were hit by only a single

   bullet, the fatality rates of those victims hit by more than one bullet were over 60 percent
   higher.3634 The implication is straightforward: being able to strike human targets with more than

   one bullet increases a shooter’s chances of killing their victims. In essence, LCMs are force

   multipliers when it comes to kill potential—and the evidence from gun massacres supports this

   conclusion (see Section II).

          38.     In addition to offensive advantages, LCMs also provide the defensive advantage

   of extended cover. During an active shooting, a perpetrator is either firing their gun or not firing

   their gun. While pulling the trigger, it is difficult for those in harm’s way to take successful

   defensive maneuvers. But if the shooter runs out of bullets, there is a lull in the shooting. This

   precious downtime affords those in the line of fire with a chance to flee, hide, or fight back.

          39.     There are several examples of individuals fleeing or taking cover while active

   shooters paused to reload. For instance, in 2012, several first-graders at Sandy Hook Elementary

   School in Newtown, Connecticut, escaped their attacker as he was swapping out magazines,
   allowing them to exit their classroom and dash to safety.3735 Other well-known examples include

   the 2007 Virginia Tech and the 2018 Borderline Bar and Grill rampages.3836 There is also the
          3634
              Daniel W. Webster, et al., “Epidemiologic Changes in Gunshot Wounds in
   Washington, DC, 1983–1990,” 127 Archives of Surgery 694 (June 1992) (Attached as Exhibit
   S); Angela Sauaia, et al., “Fatality and Severity of Firearm Injuries in a Denver Trauma Center,
   2000–2013,” 315 JAMA 2465 (June 14, 2016) (Attached as Exhibit T).
          3735
            See Dave Altimari, et al., “Shooter Paused and Six Escaped,” Hartford Courant,
   December 23, 2012 (Attached as Exhibit U).
          3836
              Virginia Tech Review Panel, Mass Shootings at Virginia Tech, April 16, 2007:
   Report of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of
                                                34
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 72
                                    of 79




   possibility that someone will rush an active shooter and try to tackle them (or at the very least try
   to wrestle their weapon away from them) while they pause to reload.3937 In recent history, there

   have been numerous instances of gunmen being physically confronted by unarmed civilians

   while reloading, bringing their gun attacks to an abrupt end. Prominent examples include the

   1993 Long Island Rail Road, the 2011 Tucson shopping center, the 2018 Nashville Waffle
   House, and the 2022 Laguna Woods church shooting rampages.4038 When there are pauses in the

   shooting to reload, opportunities arise for those in the line of fire to take life-saving action.

       VI.C.       BANS ON ASSAULT WEAPONS AND LCMS IN PRACTICE

           40.     In light of the growing threat posed by mass shootings, legislatures have enacted

   restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

   such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal


   Report of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of
   Virginia, Revised with Addendum, November 2009, available at
   https://scholar.lib.vt.edu/prevail/docs/April16ReportRev20091204.pdf (last accessed February 1,
   2023); “California Bar Shooting: Witnesses Describe Escaping as Gunman Reloaded,” CBS
   News, December 7, 2018, available at
   https://www.cbsnews.com/news/borderline-bar-shooting-thousand-oaks-california-12-dead-witn
   esses-describe-gunman-storming-in (last accessed February 1, 2023).
           3937
              The longer a shooter can fire without interruption, the longer they can keep potential
   defenders at bay. The longer potential defenders are kept from physically confronting a shooter,
   the more opportunity there is for the shooter to inflict damage.
           4038
               See, Rich Schapiro, “LIRR Massacre 20 Years Ago: ‘I Was Lucky,’ Says Hero Who
   Stopped Murderer,” New York Daily News, December 7, 2013, available at
   http://www.nydailynews.com/new-york/nyc-crime/lirr-massacre-20-years-lucky-hero-stopped-m
   urderer-article-1.1540846 (last accessed February 1, 2023); Sam Quinones and Nicole Santa
   Cruz, “Crowd Members Took Gunman Down,” Los Angeles Times, January 9, 2011, available at
   https://www.latimes.com/archives/la-xpm-2011-jan-09-la-na-arizona-shooting-heroes-20110110
   -story.html (last accessed February 1, 2023); Brad Schmitt, “Waffle House Hero: Could You
   Rush Toward a Gunman Who Just Killed People?” The Tennessean, April 24, 2018, available at
   https://www.tennessean.com/story/news/crime/2018/04/24/waffle-house-hero-could-you-rush-to
   ward-gunman-who-just-killed-people/543943002 (last accessed February 1, 2023); “Parishioners
   Stop Gunman in Deadly California Church Attack,” NPR, May 16, 2022, available at
   https://www.npr.org/2022/05/16/1099168335/parishioners-stop-gunman-in-california-church-sh
   ooting (last accessed February 1, 2023).
                                                     35
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 73
                                    of 79




   Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

   that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road

   commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to
   all 50 states plus the District of Columbia, bringing the entire country under the ban.4139

          41.       Like the state bans on assault weapons and LCMs that were implemented before

   it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

   sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

   weapons and LCMs not legally owned by civilians prior to the date of the law’s effect
   (September 13, 1994).4240 Congress, however, inserted a sunset provision in the law which

   allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

   Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

   In the aftermath of the federal ban’s expiration, mass shooting violence in the United States
   increased substantially.4341

          42.       The legislative intent of the Town of Superior, the City of Boulder, the City of

   Louisville, and Boulder County in enacting the laws being challenged in the present case is

   similar to that of other legislative bodies that have restricted assault weapons and LCMs:

   reducing gun violence, especially the frequency and lethality of mass shootings. Because, on

   average, the use of assault weapons and LCMs results in higher death tolls in mass shootings, the

   rationale for imposing restrictions on assault weapons and LCMs is to reduce the loss of life

   associated with the increased kill potential of such firearm technologies.



          4139
              Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
   18 U.S.C. § 922(v), (w)(1) (1994)).
          4240
              Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
   1994—and Why It Worked,” Washington Post, February 22, 2018, available at
   https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-a
   ssault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
          4341
                 See sources cited supra note 14.
                                                     36
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 74
                                    of 79




          43.     Currently, 32% of the U.S. population is subject to a ban on both assault weapons

   and LCMs. The following is a list of the eleven state-level jurisdictions that presently restrict

   both assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

   pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

   1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

   2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware
   (August 29, 2022); Illinois (January 10, 2023); and Washington (April 25, 2023).4442 As a

   reminder, from September 13, 1994 through September 12, 2004, the entire country was also

   subject to a federal ban on both assault weapons and LCMs.

          44.     In the field of epidemiology, a common method for assessing the impact of laws

   and policies is to measure the rate of onset of new cases of an event, comparing the rate when

   and where the laws and policies were in effect against the rate when and where the laws and

   policies were not in effect. This measure, known as the incidence rate, allows public health

   experts to identify discernable differences, while accounting for variations in the population,

   over a set period of time. Relevant to the present case, calculating incidence rates across states,

   in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

   during the period of observation, allows for the assessment of the effectiveness of such bans. In

   addition, fatality rates—the number of deaths, per population, that result from particular events

   across different jurisdictions—also provide insights into the impact bans on assault weapons and
   LCMs have on mass shooting violence.4543



          4442
               The dates in parentheses mark the effective dates on which the listed states became
   subject to bans on both assault weapons and LCMs.
          4543
              For purposes of this Report, incidence and fatality rates are calculated using methods
   and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
   Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
   Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
   accessed January 3, 2023).
                                                    37
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 75
                                    of 79




          45.     Since September 1, 1990, when New Jersey became the first state to ban both

   assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass
   shootings in the United States (Exhibit C).4644 Calculating incidence and fatality rates for this

   time period, across jurisdictions with and without bans on both assault weapons and LCMs,

   reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

   shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting
   fatality rates, regardless of whether assault weapons or LCMs were used (Table 7).4745

          46.     When calculations go a step further and are limited to mass shootings involving

   assault weapons or LCMs, the difference between the two jurisdictional categories is even more

   pronounced. In the time period from January 1, 1991 through December 31, 2022, accounting

   for population, states with bans on both assault weapons and LCMs experienced a 62% decrease

   in the rate of high-fatality mass shootings involving the use of assault weapons or LCMs.

   Similarly, jurisdictions with such bans in effect experienced a 72% decrease in the rate of deaths

   resulting from high-fatality mass shootings perpetrated with assault weapons or LCMs (Table 7).

          47.     All of the above epidemiological calculations lead to the same conclusion: when

   bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

   occur and fewer people die in such shootings—especially incidents involving assault weapons or

   LCMs, where the impact is most striking.




          4644
               There were no state bans on both assault weapons and LCMs in effect prior to
   September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
   impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
   the last four months of 1990, extending the analysis back to September 1, 1990, would make no
   difference.
          4745
              Between September 13, 1994 and September 12, 2004, the Federal Assault Weapons
   Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
   under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
   coded as being under a ban on both assault weapons and LCMs during the time frame that the
   Federal Assault Weapons Ban was in effect.
                                                   38
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 76
                                    of 79




           48.    The main purpose of bans on assault weapons and LCMs is to restrict the

   availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

   weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

   attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

   lost.

           49.    Moreover, forcing active shooters to reload creates critical pauses in an attack.

   These pauses provide opportunities for people in the line of fire to take life-saving measures

   (such as fleeing the area, taking cover out of the shooter’s sight, and fighting back), which in turn

   can help reduce casualties.

           50.    The epidemiological data lend support to the policy choices of the Town of

   Superior, the City of Boulder, the City of Louisville, and Boulder County that seek to enhance

   public safety through restrictions on civilian access to certain firearms and magazines. While

   imposing constraints on assault weapons and LCMs will not prevent every mass shooting, the

   data suggest that legislative efforts to restrict such instruments of violence should result in lives

   being saved.




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Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 77
                                    of 79




   Table 7. Incidence and Fatality Rates for High-Fatality Mass Shootings, by Whether or
   Not Bans on Assault Weapons and LCMs Were in Effect, 1991-2022

                                  Annual                         Annual                  Annual
                                  Average                        Incidents per           Deaths per
                                  Population    Total            100 Million Total       100 Million
                                  (Millions)    Incidents        Population    Deaths    Population
    All High-Fatality Mass
    Shootings
    Non-Ban States                      162.0               68             1.31    720          13.89

    Ban States                          135.8               25             0.58    208           4.79

    Percentage Decrease in Rate
    for Ban States                                                       56%                     66%
    High-Fatality Mass
    Shootings Involving Assault
    Weapons or LCMs
    Non-Ban States                      162.0               47             0.91    575          11.09

    Ban States                          135.8               15             0.35    135           3.11

    Percentage Decrease in Rate
    for Ban States                                                       62%                     72%

   Note: Population data are from U.S. Census Bureau, “Population and Housing Unit Estimates
   Datasets,” available at https://www.census.gov/programs-surveys/popest/data/data-sets.html
   (last accessed January 3, 2023).




            Executed on May 5October 20, 2023, at Nassau County, New York.




                                               /s/

                                                          Louis Klarevas

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Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 78
                                    of 79




                                       41
Case No. 1:22-cv-02680-NYW-SKC Document 78-12 filed 10/20/23 USDC Colorado pg 79
                                    of 79




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         Style name: Comments+Color Legislative Moves+Images
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         Original filename: 2023.05.05 Louis Klarevas Expert Declaration - RMGO v.
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         Add                                                          111
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         Table Insert                                                 5
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         Total Changes:                                               249
